Case 2:23-cv-02000-WSS   Document 11-15   Filed 11/20/23   Page 1 of 28




            EXHIBIT O
         Mesiti Declaration
Infringing Product Type 3 Webpages
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          First Webpage Showing Sale of Infringing
                      Product Type 3
                                Case 2:23-cv-02000-WSS                                                                                                   Document 11-15                                                              Filed 11/20/23                                              Page 3 of 28



  Skip to main content   Delivering to Albany 12201
                                                                All
                                                                                                                                                                                                                                                                                                                                   Hello, sign in           Returns            0
                         Update location                                                                                                                                                                                                                                                                           EN              Account & Lists          & Orders               Cart

      All    Holiday Deals     Medical Care               Best Sellers      Amazon Basics                 Prime             Registry        New Releases     Today's Deals               Customer Service            Music      Whole Foods       Books        Fashion    Amazon Home                 Pharmacy                  Gift Cards               Join Prime today for deals

   Amazon Home               Shop by Room                                Discover                                     Shop by Style                        Home Décor                                    Furniture                       Kitchen & Dining                           Bed & Bath                                     Garden & Outdoor                   Home Improvement




                                                                                                                                                                                                                                                                                                                                                                              Sponsored
                                Home & Kitchen › Storage & Organization             ›   Home Storage Hooks        ›    Utility Hooks


                                                                                                                                                                   AccEncyc 12 Pcs Purse Hanger Closet Bag Hooks
                                                                                                                                                                   Handbag Organizer Heavy Duty S Hooks for                                                                                      Enjoy fast, FREE delivery,
                                                                                                                                                                                                                                                                                                 exclusive deals and award-
                                                                                                                                                                   Hanging Purse for Closet and Shower Stainless Steel                                                                           winning movies & TV shows
                                                                                                                                                                   (Silver)                                                                                                                      with Prime
                                                                                                                                                                   Brand: AccEncyc                                                                                                               Try Prime and start saving today
                                                                                                                                                                   4.6                                  6 ratings                                                                                with Fast, FREE Delivery

                                                                                                                                                                   $       59
                                                                                                                                                                       4         (   $0.38 / Count)
                                                                                                                                                                                                                                                                                                  $
                                                                                                                                                                                                                                                                                                      4 59 $0.38 Count)
                                                                                                                                                                                                                                                                                                            (           /

                                                                                                                                                                   Get Fast, Free Shipping with Amazon Prime
                                                                                                                                                                                                                                                                                                  Get Fast, Free Shipping with
                                                                                                                                                                                Best price                                                                                                        Amazon Prime
                                                                                                                                                                                                                                                                                                  FREE delivery Sunday,
                                                                                                                                                                   Get a $60 gift card instantly: Pay $0.00 $4.59 upon approval for the Amazon Store Card.                                        November 19 on orders shipped
                                                                                                                                                                   Find out how                                                                                                                   by Amazon over $35
                                                                                                                                                                   Color: Silver                                                                                                                  Or fastest delivery Friday,
                                                                                                                                                                                                                                                                                                  November 17 Order within 10
                                                                                                                                                                                                                                                                                                                            .
                                                                                                                                                                                     $4.59                           $4.59
                                                                                                                                                                                     ($0.38 / Count)                 ($0.38 / Count)                                                              hrs 50 mins
                                                                                                                                                                                                                                                                                                        Delivering to Albany 12201 -
                                                                                                                                                                   Color                                  Silver                                                                                        Update location
                                                                             Roll over image to zoom in                                                            Material                               Stainless Steel                                                                         Only 16 left in stock - order
                                                                                                                                                                   Brand                                  AccEncyc                                                                                soon.
                                                                                                                                                                   Mounting Type                          Desk Mount                                                                              Qty:
                                                                                                                                                                                                                                                                                                   Qty: 1
                                                                                                                                                                   Maximum Weight                         40 Pounds
                                                                                                                                                                   Recommendation                                                                                                                                   Add to Cart

                                                                                                                                                                                                                                                                                                                     Buy Now
                                                                                                                                                                   About this item
Infringing Product                                                                                                                                                   Include: 12 pack s hooks for hanging purses, bags, ties and so on. Measurement:
                                                                                                                                                                     approx. 4 inches, 3.5mm in thickness.
                                                                                                                                                                                                                                                                                                  Ships from       Amazon


      Type 3
                                                                                                                                                                                                                                                                                                  Sold by          AccEncyc US
                                                                                                                                                                     Stainless Steel: Made of stainless steel, so these hooks will not get rusty. Great to be                                     Returns          Returnable until Jan 31,
                                                                                                                                                                     used in closet and bathroom.                                                                                                                  2024
                                                                                                                                                                     Heavy Duty: The thickness of the hooks are 3.5mm. They can load up to 40 lb weights,                                         Payment          Secure transaction
                                                                                                                                                                     very durable for daily uses.                                                                                                       Add a gift receipt for easy
                                                                                                                                                                     90 Degree S hooks: Special designed for hanging purses and handbags, the 90 degree                                                 returns
                                                                                                                                                                     hooks will hold your purses and bags in a very neatly way in the closet.
                                                                                                                                                                     Widely Used Utility Hooks: Except for holding purses, these hooks are also very useful
                                                                                                                                                                                                                                                                                                      Add to List
                                                                                                                                                                     for hanging kitchenware, coat and hat, ties, belts, wreathes and so on.




                                                                                                                                                                       Sponsored



                                Buy         it with

                                                                                                                                                                                                                                                                                                                                             Sponsored
                                                                                                                                                                                                             Total price: $34.57
                                                                                +                                                       +                                                                        Add all 3 to Cart



                                                                                                                                                                                                       Some of these items ship sooner than the
                                                                                                                                                                                                       others.
                                 This item: AccEncyc 12 Pcs Purse                       EZlifego Double Sided Tape Heavy                     EUDELE Shower Caddy 5                                     Show details
                                 Hanger Closet Bag Hooks                                Duty, Extra Large Nano Double                        Pack,Adhesive Shower Organizer
                                 Handbag Organizer Heavy Duty S                         Sided Adhesive Tape, Clear                           for Bathroom Storage&Kitchen,No
                                 $
                                     4 59 ($0.38/Count)                                 $
                                                                                            9 99 ($0.08/Item)                                $
                                                                                                                                                 19 99

                                Products related to this item                                                                                                                                                                                                                                                                           Page 1 of 35
                                Sponsored




                                                BESARME 15 Pack Purse                          CTOHN 20 Pack Purse                     BCISIWOS Purse Hanger                CertBuy 20 Pack Purse                      Myfolrena Purse Hangers              Fitnice 10 Pack Purse                ZEDODIER 14 Pack Purse
                                                Hanger for Closet,                             Hanger for Closet,                      for Closet, 10 Pack                  Hanger for Closet, 4.5"                    Bag Hooks Closet- 12                 Hanger for Closet, S                 Hooks for Closet,
                                                Unique Twist Design Bag                        Unique Twist Design Bag                 Handbag Hanger                       Unique Twist Design Bag                    Pack Handbag Hanger                  Hooks for Hanging                    Backpack Hanger Bag
                                                Hanger Hooks, Purs...                          Hanger Purse Hooks, ...                 Organizer Unique…                    Hanger Purse ...                           Organizer Metal S ...                Twisted Purse Hooks…                 Holder, Closet Accesso...
                                                             314                                            17                                       30                                  1                                          227                                   184                                  100
                                                $9.99       ($0.67/Count)                      $9.98     ($0.50/Count)                 $6.99                                $15.99                                     $9.99                                $9.99   ($1.00/Count)                $7.99          ($0.57/Count)




                                Based on your recent shopping trends                                                                                                                                                                                                                                                                      Page 1 of 6
Case 2:23-cv-02000-WSS                                                                              Document 11-15                                                        Filed 11/20/23                                   Page 4 of 28




            BCISIWOS Purse Hanger             Fitnice 10 Pack Purse                 MEILIDY S Hooks,                         Rivexy 10 Pack Black S            30 Pack S Hooks for             GEZIDEA Purse Hanger S      Evob 20 Pack 3.4" S
            for Closet, 10 Pack               Hanger for Closet, S                  Reversible Black S                       Hooks for Hanging                 Hanging, 3.15 inch              Hooks Twisted S Hooks       Shaped Hooks Stainless
            Handbag Hanger                    Hooks for Hanging                     Shaped Hooks 3 Inch                      Plants, S Hooks for               Stainless Steel S Shaped        Closet Rod Hooks for        Steel Metal Hangers
            Organizer Unique   30    Twist    Twisted Purse Hooks                   Small Heavy Duty                         Hanging Clothes,                  Hooks Curtain Hooks             Handbags,Bags,Clothes,P     Hanging Hooks for
            Design
               Save 8%Bag Hanger Purse        Heavy Duty S 184    Hooks             Stainless Steel S                        Stainless Steel S Hooks           Heavy Duty S Hooks for          ures,Hats,10Pack            Kitchen, Work Shop,
            $Hooks,
              6 . 99    Large   Size Closet   Handbag
                                                 Amazon's Hanger
                                                             Choice   in            Hanging Hooks107 for Pots                Heavy Duty, Durable 4,675     S   Hanging Pots 36and Pans,        (Large&90Deg)               Bathroom, Garden18,433
             Rod Hooks                                                              $Pans                                    $Shaped                           $Plants,                                      353           $ 6 . 47 ($0.32/Count)
             Typical:  $7.59 for Hanging      Organizer
                                              Utility   Hooks Space Saving            9 . 99Cups Mugs Curtains                            Hooks for
                                                                                                                               4 . 99 ($0.50/Count)              12 . 99 Jeans, Clothes,
             Purses,
             Lowest Handbags,
                        price in 30 days      $Closet    Rod   Hooks
                                                9 . 99 ($1.00/Count)  for            Pantsit asPlants
                                                                                     Get         soon asTools  - 12
                                                                                                          Sunday,             Kitchen,
                                                                                                                              Get          Smallas Tuesday,
                                                                                                                                   it as soon       S Hooks     Jewelry,
                                                                                                                                                                Get        Towels,
                                                                                                                                                                    it as soon      Cups
                                                                                                                                                                               as Sunday,                                  Get it as soon as Sunday,
             Clothes,
             Get         Plant,
                  it as soon as Sunday,
                                               Clothes,
                                               Get         Bags, Plants,
                                                    it as soon as Monday,
                                                                                     Pcs
                                                                                     Nov 19                                   for Hanging
                                                                                                                              Nov   21           Heavy Duty,    (Black)
                                                                                                                                                                Nov 19                                                     Nov 19
             Pots(Black)
             Nov 19                            Pots 20(Black)
                                               Nov                                  FREE Shipping on orders over              ClosetShipping
                                                                                                                              FREE      Hooks on orders over   FREE Shipping on orders over                                FREE Shipping on orders over
            FREE Shipping on orders over      FREE Shipping on orders over          $35 shipped by Amazon                    $35 shipped by Amazon             $35 shipped by Amazon                                       $35 shipped by Amazon
            $35 shipped by Amazon             $35 shipped by Amazon



From the brand




                                                                                         Hello, we are AccEncyc, the combination of
                                                                                         Accessory and Encyclopedia, which represents
                                                                                         the core concept of our brand, presenting
                                                                                         abundant, professional and practical products to
                                                                                         you in an encyclopedia-like manner. Here, you
                                                                                         can find everything devoted to make your life
                                                                                         much more better, including hardwares, tools
                                                                                         and pet supplies. We start with providing
                                                                                         accessories, but not just accessories.

   Brand Description
   AccEncyc is committed to provide customers preferably                                                                                                          Recommended Goods                                              Recommended Goods
   with satisfactory products and more intimate service.




Looking for specific info?




Videos                                                                                                                                                                                                                                                    Page 1 of 3

          Videos for related products




                                                      0:46                                                            0:29                                                 1:55                                           0:29
           CTOHN Purse Hangers for Closet                                    5 Closet Organizational Must                                S-Hook’s Closet Reign: No Mess               Large Size Closet Rod Hooks                          My Review Of The
           JINGWEI-US                                                        Haves                                                       Allowed                                      Fitnice Official                                     Hooks for Hanging
                                                                             Jaime Cittadino                                             Mike Lazarus                                                                                      ✅ Abraham Reviews




 Upload your video




Product information

   Package Dimensions                                              4.5 x 3 x 3 inches                                                            Warranty & Support
   Item Weight                                                     7 ounces                                                                       Product Warranty: For warranty information about this product, please click here

   Department                                                      womens                                                                        Feedback
   Manufacturer                                                    AccEncyc                                                                       Would you like to tell us about a lower price?
   ASIN                                                            B0BHY8GVL6

   Customer Reviews                                                4.6                          6 ratings
                                                                   4.6 out of 5 stars

   Best Sellers Rank                                               #974,323 in Home & Kitchen           (   See Top 100 in Home
                                                                   & Kitchen )
                                                                   #1,863 in Utility Hooks

   Date First Available                                            October 12, 2022




Product Description
     12 pack heavy duty s hooks for holding puses, handbags, kitchenware, coat and hat, ties, belts, wreathes and so on



Compare with similar items
Case 2:23-cv-02000-WSS                                                                            Document 11-15                                                        Filed 11/20/23                                               Page 5 of 28




                                        This item AccEncyc 12 Pcs Purse              ZEDODIER 14 Pack Purse Hooks                    Fitnice 10 Pack Purse Hanger for                  12 Pack Purse Hanger for                      Evob 20 Pack 3.4" S Shaped Hooks
                                        Hanger Closet Bag Hooks Handbag              for Closet, Backpack Hanger Bag                 Closet, S Hooks for Hanging                       Closet,Unique Twist Design Bag                Stainless Steel Metal Hangers
                                        Organizer Heavy Duty S Hooks for             Holder, Closet Accessories                      Twisted Purse Hooks Heavy Duty S                  Hanger Purse Hooks, Large Size                Hanging Hooks for Kitchen, Work
                                        Hanging Purse for Closet and                 Organizer S Hook for Hanging                    Hooks Handbag Hanger Organizer                    Closet Rod Hooks for Hanging                  Shop, Bathroom, Garden
                                        Shower Stainless Steel (Silver)              Purses, Handbags, Bags, Belts,                  Space Saving Closet Rod Hooks for                 Necklace Bags, Purses, Handbags,
                                                                                     Scarves, Hats, Clothes, and Plant,              Clothes, Bags, Plants, Pots (Black)               Belts, Scarves, Hats,Clothes, Pans
                                                                                     Silver                                                                                            and Pots, Black

                                            Add to Cart                                  Add to Cart                                     Add to Cart                                       Add to Cart                                    Add to Cart



  Customer Rating                                         (6)                                          (100)                                           (184)                                             (1307)                                         (18433)
  Price                                 $
                                            4 59                                     $
                                                                                         7 99                                        $
                                                                                                                                         9 99                                          $
                                                                                                                                                                                           9 69                                      $
                                                                                                                                                                                                                                         6 47
  Shipping                              FREE Shipping on orders over                 FREE Shipping on orders over                    FREE Shipping on orders over                      FREE Shipping on orders over                  FREE Shipping on orders over
                                        $35.00 shipped by Amazon or get              $35.00 shipped by Amazon or get                 $35.00 shipped by Amazon or get                   $35.00 shipped by Amazon or get               $35.00 shipped by Amazon or get
                                        Fast, Free Shipping with Amazon              Fast, Free Shipping with Amazon                 Fast, Free Shipping with Amazon                   Fast, Free Shipping with Amazon               Fast, Free Shipping with Amazon
                                        Prime                                        Prime                                           Prime                                             Prime                                         Prime
  Sold By                               AccEncyc US                                  ZEDODIER                                        Fitnice Official                                  LiteViso                                      Evob
  Color                                 Silver                                       Silver                                          Black                                             Black                                         Silver
  Material                              Stainless Steel                              Metal                                           Stainless Steel, Plastic                          Rubber, Alloy Steel                           Stainless Steel




Important information
    To report an issue with this product, click here         .




Products related to this item                                                                                                                                                                                                                                     Page 1 of 20
Sponsored




             Purse Hangers 16 Pack                  HomeyHandcraft 8 Pack          AMKUFO Hangers-                   KELITOPS 12 Pack S                        BESARME 15 Pack Purse                 CTOHN 20 Pack Purse                 BCISIWOS Purse Hanger
             Bag Hooks, Twist Shape                 6 Inch Rattan S Hooks          Space-Saving-12 Pack -            Hooks for Hanging, 3.5                    Hanger for Closet,                    Hanger for Closet,                  for Closet, 10 Pack
             Purse Hooks for Closet,                for Hanging, Hangers S         Closet-Organizers-and-            inch Heavy Duty S Hooks                   Unique Twist Design Bag               Unique Twist Design Bag             Handbag Hanger
             Large Size Clo...                      Shaped Hooks for...            Storage for Dorm…                 with Safety Buckl...                      Hanger Hooks, Purs...                 Hanger Purse Hooks, ...             Organizer Unique…
                           42                                    33                             78                                 49                                       314                                   17                                   30
             $11.99                                 $24.99       ($3.12/Count)     $11.99       ($1.00/Count)        $5.99        ($0.50/Count)                $9.99   ($0.67/Count)                 $9.98    ($0.50/Count)              $6.99




                                                                                                                                                                                                                        Sponsored

Similar brands on Amazon                                                                                                                                                                                                                                           Page 1 of 2
Sponsored


                   TECI                                                                            TICONN                                                                                  HOME DEPUTY
                   Shop the Store on Amazon    ›                                                   Shop the Store on Amazon   ›                                                            Shop the Store on Amazon ›




                                     TECI Solid Brass Coat Hooks Heavy Duty                                          TICONN Wall Mounted Coat Rack, Five                                                     HOME DEPUTY 6 Pack Purse Organizers
                                     Wall Mounted.Perfect for Purse,Coats,                                           Heavy Duty Tri Hooks All Metal                                                          for Closet - 6 Bag Hooks - Silver - Purse
                                     Jackets, Hats, 112
                                                    Scarfs, Bags,                                                    Construction 1,444
                                                                                                                                  for Jacket Coat Hat in                                                     Hangers for Closet 511 with Unique Twisted
                                     $Backpacks,Hat,Towel,
                                       25 . 99               and More.Available                                      $Mudroom
                                                                                                                       18 . 46 Entryway (Matte Black, 2-Pack)                                                $Hook
                                                                                                                                                                                                               12 . 50Design   which
                                                                                                                                                                                                                         Typical:      Saves Space - Your
                                                                                                                                                                                                                                   $13.50
                                     for Clothing Store, Hotel, Cafe, TC005D                                                                                                                                 Handbags Will Look Great in Your Closet




                                                                                 Reviews with images                                                                                              See all photos
Customer reviews
                   4.6 out of 5
6 global ratings

5 star                                         59%
4 star                                         41%
3 star                                             0%
2 star                                             0%
                           Case 2:23-cv-02000-WSS                                                                                       Document 11-15                                                Filed 11/20/23                                          Page 6 of 28



                           1 star                                         0%                                      Top reviews

                              How customer reviews and ratings work
                                                                                                              Top reviews from the United States

                           Review this product                                                                           Knightman

                           Share your thoughts with other customers                                                           Closet Hooks
                                                                                                              Reviewed in the United States on August 16, 2023
                                        Write a customer review                                               Color: Black Vine Customer Review of Free Product What's this?      (          )


                                                                                                              I got these to hang bags, scarves, and accessories and they work well for this. It's easy to hang it over the
                                                                                                              bar just like a hanger, then hang the item on the end. There's really not much to it, lol.
                                                                                                                      Helpful            Report


                                                                                                                         Bree VINE VOICE

                                                                                                                            Super handy!
                                                                                                              Reviewed in the United States on July 11, 2023
                                                                                                              Color: Black Vine Customer Review of Free Product What's this?      (          )


                                                                                                              These are so useful. like that they have rubber-coated tips so your stuff doesn't snag. They have an
                                                                                                                                         I


                                                                                                              impressive weight capacity. hung both my delicate scarves and hefty totes on them and it holds them up
                                                                                                                                                      I


                                                                                                              like a champ so can sort my things in my closet and find them quickly.
                                                                                                                                    I




                                                                                                              I   love that they stack to take up very little space when not in use (see first photo).

                                                                     Sponsored                                Great closet organizational tool!




                                                                                                                      Helpful            Report


                                                                                                              See more reviews



                           4 stars and above                                                                                                                                                                                                                                                 Page 1 of 27
                           Sponsored




                                        Seamaka 12 pcs 3.5 inch            Vantasii 10 Pack S Hooks                  Purse Hanger Organizer               LOYMR 16 Pack 4.7              BESARME 15 Pack Purse               Fitnice 10 Pack Purse             ZEDODIER 14 Pack Purse
                                        Silver S Hooks,Heavy               for Hanging, Rustproof                    for Closet 2-Pack, Fitnice           Inches Extra Large S           Hanger for Closet,                  Hanger for Closet, S              Hooks for Closet,
                                        Duty S Shaped Hooks for            S-Shaped Hook with                        Metal Handbag Hangers                Shape Hooks Heavy-             Unique Twist Design Bag             Hooks for Hanging                 Backpack Hanger Bag
                                        Hanging Rust-P...                  Safety Buckle He...                       Space Savin...                       Duty Metal Hanging…            Hanger Hooks, Purs...               Twisted Purse Hooks…              Holder, Closet Accesso...
                                                      477                                121                                        57                                  453                           314                                  184                               100
                                        $8.99                              $7.50                                     $9.99      ($5.00/Count)             $15.99     ($1.00/Count)       $9.99       ($0.67/Count)           $9.99     ($1.00/Count)           $7.99      ($0.57/Count)


                                                                                                                     Save 10% with coupon




                                                                                                                                                                                                                           Sponsored




Best Sellers in this category                                                                                                                                                                                                                                                                                                      Page 1 of 6




        Washing Machine                  BISSELL Little Green                  O-Cedar EasyWring                     Beckham Hotel                        Utopia Bedding Throw           GiveBest Portable                 Pure Enrichment                   BigFoot Shower Curtain             Space Heater, 1500W
        Cleaner Descaler 24 Pack         Multi-Purpose Portable                Microfiber Spin Mop,                  Collection Bed Pillows               Pillows (Set of 4, White),     Electric Space Heater             MistAire Ultrasonic Cool          Liner – 72 x 72 PEVA               Electric Heaters Indoor
        - Deep Cleaning Tablets          Carpet and Upholstery                 Bucket Floor Cleaning                 Standard / Queen Size                18 x 18 Inches Pillows         with Thermostat,                  Mist Humidifier -                 Heavy Duty Shower                  Portable with
        For HE Front Loader &            Cleaner, Car and65,003
                                                              Auto             System, Red, Gray                     Set of 2 - Down                      for Sofa, Bed and Couch        1500W/750W Safe and               Premium Humidifying               Curtain with Rustproof             Thermostat, PTC Fast
        Top Load Washer, Septic          Detailer,  with Exclusive
                                          #1 Best Seller   in Carpet &                       166,858                                  234,036 Gel
                                                                                                                     Alternative Bedding                                 92,041
                                                                                                                                                          Decorative Stuffer             Quiet Ceramic Heater              Unit with 1.5L115,171Water        Metal Grommet and 3                Heating Ceramic Room
        Safe Eco-Friendly98,474          Specialty Tools, Green,
                                         Upholstery  Cleaning                    #1 Best Seller in                   Cooling   Pillow inforBedBack,
                                                                                                                       #1 Best Seller                     Pillows
                                                                                                                                                           #1 Best Seller in Throw       Fan, Heat Up 78,693 200 Square    Tank,
                                                                                                                                                                                                                             #1 BestWhisper-Quiet
                                                                                                                                                                                                                                       Seller in             Magnetic Weights   47,537 –        Small Heater 18,712 with
        $Deodorizer,    Clean Inside
          16 . 95 ($0.71/Count)          1400B
                                         Machines                              Household Mops & Bucket               Stomach or Side
                                                                                                                     Pillows                              Pillows                        $Feet  for Office Room
                                                                                                                                                                                           29 . 99                         Operation, Automatic
                                                                                                                                                                                                                           Humidifiers                       $Odor
                                                                                                                                                                                                                                                               8 . 79 Free and                  $Heating
                                                                                                                                                                                                                                                                                                  29 . 99 and Fan Modes
         Drumit asAnd
         Get       soonLaundry
                        as Sunday,Tub     28% off    Deal                      Sets                                  $ 60 . 99 ($30.50/Count)
                                                                                                                     Sleepers                             $ 22 . 99 ($5.75/count)         Deskit asIndoor
                                                                                                                                                                                          Get        soon asUse,  Silver
                                                                                                                                                                                                              Tuesday,     $Shut-Off
                                                                                                                                                                                                                             39 . 99 and Night Light          Compatible
                                                                                                                                                                                                                                                              Get              withSunday,
                                                                                                                                                                                                                                                                   it as soon as                 for itBedroom,
                                                                                                                                                                                                                                                                                                 Get     as soon as Office
                                                                                                                                                                                                                                                                                                                     Tuesday,and
         Seal 1912 Month Supply
         Nov                                                                   $ 34 . 97                             Get it as soon as Sunday,            Get it as soon as Sunday,      Nov 21                             Function
                                                                                                                                                                                                                            Get          - Lasts
                                                                                                                                                                                                                                it as soon        Up to 16
                                                                                                                                                                                                                                             as Sunday,       Standard
                                                                                                                                                                                                                                                              Nov   19      Showers, Clear       Indoor
                                                                                                                                                                                                                                                                                                 Nov   21 Use
                                         $ 89 . 00
        FREE Shipping on orders over                                           Get it as soon as Sunday,             Nov 19                               Nov 19                         FREE Shipping on orders over       Hours
                                                                                                                                                                                                                            Nov 19                           FREE Shipping on orders over       FREE Shipping on orders over
                                         List: $123.59
        $35 shipped by Amazon                                                  Nov 19                                FREE Shipping by Amazon              FREE Shipping on orders over   $35 shipped by Amazon             FREE Shipping by Amazon           $35 shipped by Amazon              $35 shipped by Amazon
                                         Get it as soon as Sunday,
           Climate Pledge Friendly                                             FREE Shipping on orders over             Climate Pledge Friendly           $35 shipped by Amazon
                                         Nov 19
                                                                               $35 shipped by Amazon                                                          Climate Pledge Friendly
                                         FREE Shipping by Amazon


Customers who viewed items in your browsing history also viewed                                                                                                                                                                                                                                                                    Page 1 of 6




        12 Pack Purse Hanger             Fitnice 10 Pack Purse                 Purse Hanger Purse                    ZEDODIER 14 Pack Purse               BESARME 15 Pack Purse          Myfolrena Purse Hangers           CTOHN 20 Pack Purse               GEZIDEA Purse Hanger S             MEILIDY S Hooks,
        for Closet,Unique Twist          Hanger for Closet, S                  Organizer for Closet,S                Hooks for Closet,                    Hanger for Closet,             Bag Hooks Closet- 12              Hanger for Closet,                Hooks Twisted S Hooks              Reversible Black S
        Design Bag Hanger Purse          Hooks for Hanging                     Hooks Twist Design Bag                Backpack Hanger Bag                  Unique Twist Design Bag        Pack Handbag Hanger               Unique Twist Design Bag           Closet Rod Hooks for               Shaped Hooks 3 Inch
        Hooks, Large Size Closet         Twisted Purse Hooks                   Hanger,Closet Rod                     Holder, Closet                       Hanger Hooks, Purse            Organizer Metal S                 Hanger Purse Hooks,               Handbags,Bags,Clothes,P            Small Heavy Duty
        Rod Hooks for1,307 Hanging       Heavy Duty S Hooks                    Hooks for Hanging                     Accessories Organizer S              Organizer Hooks  314 for       Hooks, Large Size Closet          Purse Organizer Hooks             ures,Hats,10Pack                   Stainless Steel S
        Necklace
          Amazon's Bags,
                    Choice Purses,
                              in Tie     Handbag Hanger  184                                   439
                                                                               Handbags,Purses,Belts,S               Hook for Hanging100                  Closet   Large
                                                                                                                                                            Amazon's       Closetin S
                                                                                                                                                                       Choice            Rod Hooks for229Hanging                           17
                                                                                                                                                                                                                           for Closet, S Hooks    for        (Large&90Deg)                      Hanging Hooks107 for Pots
        Handbags,
        Racks         Belts,             $Organizer   Space Saving
                                           9 . 99 ($1.00/Count)                $carves,Hats,Clothes,Pots
                                                                                 8 . 98 ($1.12/Count)                $Purses,  Handbags, Bags,
                                                                                                                       7 . 99 ($0.57/Count)               Hooks    for
                                                                                                                                                          Utility Hooks Hanging          $Handbags,Clothes,
                                                                                                                                                                                           9 . 99                          $Hanging   Handbags
                                                                                                                                                                                                                             9 . 98 ($0.50/Count)                           353                 $Pans
                                                                                                                                                                                                                                                                                                  9 . 99Cups Mugs Curtains
                   Case 2:23-cv-02000-WSS                                                                                Document 11-15                                                        Filed 11/20/23                                                Page 7 of 28



$Scarves,   Hats,Clothes,
  9 . 69 ($0.81/Count)          Closet
                                Get it as Rod
                                           soon Hooks   for
                                                 as Monday,           and itPans.
                                                                      Get    as soon(8 asPack  Black)
                                                                                           Sunday,         Belts,
                                                                                                           Get it asScarves,  Hats,
                                                                                                                      soon as Sunday,         $Handbags      Purses
                                                                                                                                                9 . 99 ($0.67/Count)                Curtain,
                                                                                                                                                                                    Get        Plant,
                                                                                                                                                                                        it as soon      Pans and
                                                                                                                                                                                                    as Sunday,         Purses
                                                                                                                                                                                                                       Get it as Clothes   Belts
                                                                                                                                                                                                                                  soon as Sunday,                     Pants
                                                                                                                                                                                                                                                                      Get it asPlants
                                                                                                                                                                                                                                                                                 soon asTools  - 12
                                                                                                                                                                                                                                                                                          Sunday,
 Pans
 Get it and   Pots,
        as soon      Black
                 as Sunday,     Clothes,
                                Nov 20 Bags, Plants,                  Nov 19                               Clothes,
                                                                                                           Nov 19 and Plant, Silver            Clothes(Black)
                                                                                                                                               Get it as soon as Sunday,            Pots
                                                                                                                                                                                    Nov 19                             (Black)
                                                                                                                                                                                                                       Nov 19                                         Pcs
                                                                                                                                                                                                                                                                      Nov 19
 Nov 19                         Pots   (Black) on orders over
                                FREE Shipping                         FREE Shipping on orders over         FREE Shipping on orders over        Nov 19                               FREE Shipping on orders over       FREE Shipping on orders over                   FREE Shipping on orders over
 FREE Shipping on orders over   $35 shipped by Amazon                 $35 shipped by Amazon                $35 shipped by Amazon               FREE Shipping on orders over         $35 shipped by Amazon              $35 shipped by Amazon                          $35 shipped by Amazon
 $35 shipped by Amazon                                                                                                                         $35 shipped by Amazon




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                                                                Accessibility                                 Brand                                                                                                                  Amazon Prime
                                                                                                                                                                      Shop with Points
                                                                Sustainability                                Become an Affiliate                                                                                                    Returns &
                                                                                                                                                                      Credit Card Marketplace                                        Replacements
                                                                Press Center                                  Become a Delivery Driver
                                                                                                                                                                      Reload Your Balance                                            Manage Your
                                                                Investor Relations                            Start a Package Delivery                                                                                               Content and Devices
                                                                                                              Business                                                Gift Cards
                                                                Amazon Devices                                                                                                                                                       Your Recalls and
                                                                                                              Advertise Your Products                                 Amazon Currency Converter
                                                                Amazon Science                                                                                                                                                       Product Safety Alerts
                                                                                                              Self-Publish with Us                                                                                                   Help
                                                                                                              Host an Amazon Hub
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                                                                                                              Money




                                                                                                                                                          English                  United States




                                                                Amazon Music                      Amazon Ads             6pm                                 AbeBooks                    ACX                       Sell on Amazon              Amazon
                                                                Stream millions                   Reach                  Score deals                         Books, art                  Audiobook                 Start a Selling             Business
                                                                of songs                          customers              on fashion brands                   & collectibles              Publishing                Account                     Everything
                                                                                                  wherever                                                                               Made Easy                                             For
                                                                                                  they                                                                                                                                         Your
                                                                                                  spend their                                                                                                                                  Business
                                                                                                  time

                                                                Amp                               Amazon                 AmazonGlobal                        Home Services               Amazon Web                Audible                     Box Office
                                                                Host your own live                Fresh                  Ship Orders                         Experienced Pros            Services                  Listen to Books &           Mojo
                                                                radio show with                   Groceries &            Internationally                     Happiness                   Scalable Cloud            Original                    Find Movie
                                                                music you love                    More                                                       Guarantee                   Computing                 Audio                       Box Office
                                                                                                  Right To Your                                                                          Services                  Performances                Data
                                                                                                  Door

                                                                Goodreads                         IMDb                   IMDbPro                             Kindle Direct               Amazon Photos             Prime Video                 Shopbop
                                                                Book reviews                      Movies, TV             Get Info Entertainment              Publishing                  Unlimited                 Direct                      Designer
                                                                & recommendations                 & Celebrities          Professionals Need                  Indie Digital &             Photo Storage             Video                       Fashion
                                                                                                                                                             Print Publishing            Free With                 Distribution                Brands
                                                                                                                                                             Made Easy                   Prime                     Made Easy

                                                                Amazon Warehouse                  Whole Foods            Woot!                               Zappos                      Ring                      eero WiFi                   Blink
                                                                Great Deals on                    Market                 Deals and                           Shoes &                     Smart Home                Stream 4K Video             Smart
                                                                Quality Used Products             America’s              Shenanigans                         Clothing                    Security                  in Every Room               Security
                                                                                                  Healthiest                                                                             Systems                                               for Every
                                                                                                  Grocery Store                                                                                                                                Home

                                                                                                  Neighbors              Amazon Subscription                 PillPack                    Amazon
                                                                                                  App                    Boxes                               Pharmacy                    Renewed
                                                                                                  Real-Time              Top subscription boxes              Simplified                  Like-new
                                                                                                  Crime                  – right to your door                                            products
                                                                                                  & Safety                                                                               you can trust
                                                                                                  Alerts



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Case 2:23-cv-02000-WSS   Document 11-15   Filed 11/20/23   Page 8 of 28




       Second Webpage Showing Sale of Infringing
                   Product Type 3
                                   Case 2:23-cv-02000-WSS                                                                                               Document 11-15                                                           Filed 11/20/23                                      Page 9 of 28



     Skip to main content   Delivering to Albany 12201
                                                                All
                                                                                                                                                                                                                                                                                                              Hello, sign in           Returns         0
                            Update location                                                                                                                                                                                                                                                          EN       Account & Lists          & Orders            Cart

         All    Holiday Deals     Medical Care           Best Sellers       Amazon Basics                Prime            Registry        New Releases          Today's Deals         Customer Service           Music      Whole Foods           Books     Fashion    Amazon Home        Pharmacy        Gift Cards               Get a jump on holiday gifts

      Tools & Home Improvement      Best Sellers     Deals & Savings    Gift Ideas              Power & Hand Tools        Lighting & Ceiling Fans        Kitchen & Bath Fixtures       Smart Home     Shop by Room          Launchpad         Amazon Business




                                                                                                                                                                                                                                                                                                                                                      Sponsored
                                   Home & Kitchen › Storage & Organization      ›    Home Storage Hooks          ›   Utility Hooks


                                                                                                                                                                       PUPINGPIG Purse Hangers for Closet Organizer, Set
                                                                                                                                                                       of 10 Purse Hook for Closet Unique Twist Design                                                               Enjoy fast, FREE delivery,
                                                                                                                                                                                                                                                                                     exclusive deals and award-
                                                                                                                                                                       Bag Hanger Large Size Closet Hooks for Bag, Purses,                                                           winning movies & TV shows
                                                                                                                                                                       Handbags, Belts,Pots and Pans (Black)                                                                         with Prime
                                                                                                                                                                       Visit the PUPINGPIG Store                                                                                     Try Prime and start saving today
                                                                                                                                                                       4.8                   164 ratings                                                                             with Fast, FREE Delivery

                                                                                                                                                                       -9% $ 9 99                                                                                                     $
                                                                                                                                                                       Typical price: $10.99                                                                                              9 99
                                                                                                                                                                                                                                                                                      Get Fast, Free Shipping with
                                                                                                                                                                       Get Fast, Free Shipping with Amazon Prime
                                                                                                                                                                                                                                                                                      Amazon Prime
                                                                                                                                                                       FREE Returns
                                                                                                                                                                                                                                                                                      FREE Returns
                                                                                                                                                                              Best price
                                                                                                                                                                                                                                                                                      FREE delivery Monday,
                                                                                                                                                                                                                                                                                      November 27 on orders shipped
                                                                                                                                                                       Get a $60 gift card instantly: Pay $0.00 $9.99 upon approval for the Amazon Store Card.                        by Amazon over $35
                                                                                                                                                                       Find out how
                                                                                                                                                                                                                                                                                            Delivering to Albany 12201 -
                                                                                                                                                                       Color: Black                                                                                                         Update location


                                                                                                                                                                                   $9.99             $9.99
                                                                                                                                                                                                                                                                                      In Stock
                                                                            Roll over image to zoom in                                                                                                                                                                                Qty:
                                                                                                                                                                                                                                                                                       Qty: 1
                                                                                                                                                                       Color                        Black
                                                                                                                                                                                                                                                                                                     Add to Cart
                                                                                                                                                                       Material                     Stainless Steel
                                                                                                                                                                       Brand                        PUPINGPIG                                                                                           Buy Now
                                                                                                                                                                       Mounting Type                Desk Mount
                                                                                                                                                                                                                                                                                      Ships from     Amazon
                                                                                                                                                                       Maximum Weight               10 Kilograms                                                                      Sold by        Autrow
                                                                                                                                                                       Recommendation
Infringing Product
                                                                                                                                                                                                                                                                                      Returns        Returnable until Jan 31,
                                                                                                                                                                                                                                                                                                     2024
                                                                                                                                                                       About this item                                                                                                Payment        Secure transaction

      Type 3                                                                                                                                                             ��Sturdy Purse Hanger: Vinyl coated purse hooks made of high quality stainless steel,
                                                                                                                                                                         hard and sturdy. Outer layer coated with soft rubber to keep your handbag straps
                                                                                                                                                                                                                                                                                            Add a gift receipt for easy
                                                                                                                                                                                                                                                                                            returns
                                                                                                                                                                         protected. Perfect for hanging bags front to back, a great way to keep your purses in
                                                                                                                                                                         great shape
                                                                                                                                                                         ��Improved Design Purse Hanger Hooks: We improved the classical regular S hook and                               Add to List
                                                                                                                                                                         twisted it it 90° so that you can display your handbags and purses side by side at eye
                                                                                                                                                                         level. Save more spaces to store more purses/Backpacks in your closet, also you will
                                                                                                                                                                         choose bags more convenient
                                                                                                                                                                         ��Large Size Purse Hooks for Closet: Each package including 10pcs large size BLACK
                                                                                                                                                                         purse hanger hooks. H: 4.3 inches, W: 2.2 inches, big enough to fit most closet rods less
                                                                                                                                                                         than 1.8inches. Each wallet hanger can hold items up to 10kg
                                                                                                                                                                         ��Widely Applications: This large size hook can be widely used, available to organizer
                                                                                                                                                                         for closet to store purse, wallet, small to medium handbags. Also can be used for
                                                                                                                                                                         displaying plants/wind chimes, bird feeders, bird house or tidy other tools
                                                                                                                                                                         indoor/outdoor. Providing you perfect space-saving storage solution
                                                                                                                                                                         ��Easy to Use: Not require to use tools,nails, screws, or adhesives, these handbag
                                                                                                                                                                         hooks are easy to hang on existing objects. Please notice this is kind of large Utility
                                                                                                                                                                         Hooks, if it easy to off, please use a rope to fasten the hook on closet rod
                                                                                                                                                                                                                                                                                                                       Sponsored
                                                                                                                                                                       Customer ratings by feature
                                                                                                                                                                       Sturdiness                                                       5.0
                                                                                                                                                                       Easy to use                                                      4.8
                                                                                                                                                                       Value for money                                                  4.7
                                                                                                                                                                       See all reviews




                                                                                                                                                                        Sponsored



                                   Frequently bought together


                                                                                                                                                                                                      Total price: $31.96
                                                                               +                                                      +                                                                      Add all 3 to Cart



                                                                                                                                                                                                These items are shipped from and sold by
                                                                                                                                                                                                different sellers.
                                    This item: PUPINGPIG Purse                       Hat Rack for Baseball Caps Hat                        ZEDODIER Purse Hanger                                Show details
                                    Hangers for Closet Organizer, Set                Organizer Holder for Hanger &                         Organizer for Closet, 2 Pack
                                    of 10 Purse Hook for Closet                      Room Closet Display, 2Pack 10                         Hanging Bag Holder, Keeping
                                    $
                                        9 99                                         $
                                                                                         9 98                                              $
                                                                                                                                               11 99 ($6.00/Count)

                                   Products related to this item                                                                                                                                                                                                                                                   Page 1 of 35
                                   Sponsored




                                                   Purse Hanger Purse                       12 Pack Purse Hanger                     Purse Hanger for Closet,               Purse Hangers 16 Pack                  CTOHN 20 Pack Purse                    BCISIWOS Purse Hanger      Myfolrena Purse Hangers
                                                   Organizer for Closet,S                   for Closet,Unique Twist                  Unique Twist Design Bag                Bag Hooks, Twist Shape                 Hanger for Closet,                     for Closet, 10 Pack        Bag Hooks Closet- 12
Case 2:23-cv-02000-WSS                                                             Document 11-15                                           Filed 11/20/23                                      Page 10 of 28



            Hooks Twist Design Bag      Design, Large Size Closet      Hanger Purse Hooks,            Purse Hooks for Closet,       Unique Twist Design Bag         Handbag Hanger              Pack Handbag Hanger
            Hanger,Closet Rod ...       Rod Hooks fo...                Large Size Clo...              Large Size Clo...             Hanger Purse Hooks, ...         Organizer Unique…           Organizer Metal S ...
                         439            $9.39    ($0.78/Count)                       37                             42                           17                             30                           227
            $8.98   ($1.12/Count)                                      $9.99    ($0.83/Count)         $11.99                        $9.98    ($0.50/Count)          $6.99                       $9.99


4 stars and above                                                                                                                                                                                                        Page 1 of 32
Sponsored




            BESARME 15 Pack Purse       ZEDODIER 14 Pack Purse         Purse Hanger Organizer         Mzekgxm 10 Pack Purse         Purse Hanger Purse              Myfolrena Purse Hangers     12 Pack Purse Hanger
            Hanger for Closet,          Hooks for Closet,              for Closet 2-Pack, Fitnice     Hanger for Closet,            Organizer for Closet,S          Bag Hooks Closet- 12        for Closet,Unique Twist
            Unique Twist Design Bag     Backpack Hanger Bag            Metal Handbag Hangers          Unique Twist Design           Hooks Twist Design Bag          Pack Handbag Hanger         Design Bag Hanger Purse
            Hanger Hooks, Purs...       Holder, Closet Accesso...      Space Savin...                 Closet Organizer…             Hanger,Closet Rod ...           Organizer Metal S ...       Hooks, Large S...
                         314                          100                             57                           153                           439                             227                          1,280
            $9.99   ($0.67/Count)       $7.99    ($0.57/Count)         $9.99    ($5.00/Count)         $11.99    ($1.20/Count)       $8.98    ($1.12/Count)          $9.99                       $9.99    ($0.83/Count)


                                                                       Save 10% with coupon



From the brand




                                                                                                                                         What Stuff We Have?
                                                                                                                                         Here we have various of home&house tool stuff
                                                                                                                                         for your refernce, such as plant hook for outdoor,
                                                                                                                                         purse hanger hook, etc

                                                                                                                                         How is the quality?
                                                                                                                                         We quality check each piece of items and pack
                                                                                                                                         them with suitable way, to ensure the thing reach
                                                                           As a store without very long history, our primary
                                                                                                                                         to you work well
                                                                           goal is showing good products on Amazon and
                                                                           gain more and more fans
                                                                                                                                         What You Will Get?
                                                                           Meet Your Demand: Professional for HOUSE &
                                                                                                                                         We have high quality items, also we provide good
                                                                           HOME TOOL products, we will keep tracking
                                                                                                                                         service. If you have any question or confusion, let
                                                                           trending and provide you more quality items
                                                                                                                                         us know, will solve your issue within 24hours
                                                                           Just Enjoy buy and Have fun!


                                                                                                                                                                                                    ITEMS FOR HOUSE            &



                                                                                                                                                                                                    Visit the Store




Product Description




                                      10 Pack Purse Hanger for Closet, Unique Twist Design Bags Hanger Hooks Large Size Twisted Purse Hooks
                                        Vinyl Coated Protect: Each purse hanger hook has two rubber stopper on the end, which can Anti-rust, resist falling and slipping
                                        Improved design S hook: Our S hooks handbag hanger with an upgraded version of the S hook, twisting it 90° makes this wallet hanger more stable
                                        vertically on your closet rod, so you can display your handbags and purses side by side at eye level
                                        Multiple Uses: purse hanger hooks can be used to hang wallets, as well as belts, handbags, ties, jeans, scarves, towels, plants, pots and pans, cups,
                                        wind chimes, bird feeders, bird houses, indoor and outdoor use
Case 2:23-cv-02000-WSS                                    Document 11-15                                         Filed 11/20/23                                               Page 11 of 28



                                                           Large Size Closet Rod Hooks                                                  Large Quantity for home
                                                           Each s-shaped hook opening size is 1.7 inch, another opening                 use
                                                           size is 1.8inch, it fit for all regular closet rods less than                   Color: Silver, Black
                                                           1.8inch thickness                                                               Package: 10pcs for each set

                                                           Easy to Use                                                                  Heavy Duty Purse Hanger Hooks
                                                                                                                                        These purse organizer bag hangers
                                                           No tools, nails, screws or adhesives are required, this large                are made of high-quality stainless
                                                           size utility hooks are easy to hang on existing objects, can hol             steel, hard and sturdy enough. Keep
                                                           lots of item to help you save more space in your home                        your beloved bags away from floor
                                                                                                                                        and dust!
                                                                                                                                        These large size handbag hooks for
                                                                                                                                        closet have large and small heads,
                                                                                                                                        not heavy but very sturdy to hold
                                                                                                                                        items up to 10kgs




                                                                                                                       With this metal hook, you will get
                                                                                                                       a clean and tidy home, takes you
                                                                                                                       more sense of achievement and
                                                                                                                       happiness




           Perfect for Closet storage and organization, Make your life more organized!




           Unique Twist Design S Hooks                        Silver&Black Color Available                           Warm Tip Before Order
           It is twisted
                       from regular s hooks, allows you       Theses durable metal handbag hook can be               If the purse hanger hook is easy to off, please
           hang your bags vertically in the closet, save      perfect solution for hanging your handbag              use a rope to fasten the hook on closet rod
           more spaces and choose bags more convenient        purse in your closet
                                                                                                                     This closet organizer hooks fits all closet rods
           You can hang your handbags side by side            Just the simple way these hooks are oriented           less than 1.8inche s PLEASE MEASURE YOUR
                                                                                                                                            ,


           alongside your clothes providing the perfect       makes organizing handbags in the closet so             CLOSET ROD and check if item size suitable
                                                                                                                                    ,


           space-saving storage solution                      much easier and nicer                                  before purchase




           This hook is hard enough for hanging pots, pans, cups and other kitchen utensil; also suit for wind chimes, bird feeders,
           plants indoor and outdoor
Case 2:23-cv-02000-WSS                                                                        Document 11-15                                               Filed 11/20/23                                    Page 12 of 28



Looking for specific info?



Product information

   Package Dimensions                                           9.06 x 8.39 x 3.11 inches                                             Warranty & Support
   Item Weight                                                  10.1 ounces                                                           Product Warranty: For warranty information about this product, please click here

   Manufacturer                                                 PUPINGPIG                                                             Feedback
   ASIN                                                         B09TZRQNHB                                                            Would you like to tell us about a lower price?
   Country of Origin                                            China

   Customer Reviews                                             4.8                          164 ratings
                                                                4.8 out of 5 stars

   Best Sellers Rank                                            #75,930 in Industrial & Scientific ( See Top 100 in
                                                                Industrial & Scientific )
                                                                #1,170 in Utility Hooks
                                                                #1,647 in Industrial Hooks
                                                                #39,527 in Hardware

   Maximum recommended load                                     10 Kilograms

   Finish types                                                 Matte

   Number of pieces                                             10

   Batteries required                                           No




Videos                                                                                                                                                                                                                                        Page 1 of 3

          Videos for related products




                                                        0:30                                                0:43                                              0:29                                            0:46
            15 Pack Purse Hanger for Closet, for Better                 Are these purse hooks gonna                Large Size Closet Rod Hooks                          CTOHN Purse Hangers for Closet                             S-Hook’s Closet
            Organized                                                   keep your purse looking nice?              Fitnice Official                                     JINGWEI-US                                                 Allowed
            zhangheting                                                 Colleen Cupp                                                                                                                                               Mike Lazarus




 Upload your video




Important information
   To report an issue with this product, click here      .




Compare with similar items




                                      This item PUPINGPIG Purse                   BESARME 15 Pack Purse Hanger             Myfolrena Purse Hangers Bag                  Purse Hanger Purse Organizer for       Fitnice 10 Pack Purse Hanger for
                                      Hangers for Closet Organizer, Set           for Closet, Unique Twist Design          Hooks Closet- 12 Pack Handbag                Closet,S Hooks Twist Design Bag        Closet, S Hooks for Hanging
                                      of 10 Purse Hook for Closet                 Bag Hanger Hooks, Purse                  Hanger Organizer Metal S Hooks,              Hanger,Closet Rod Hooks for            Twisted Purse Hooks Heavy Duty S
                                      Unique Twist Design Bag Hanger              Organizer Hooks for Closet Large         Large Size Closet Rod Hooks for              Hanging                                Hooks Handbag Hanger Organizer
                                      Large Size Closet Hooks for Bag,            Closet S Hooks for Hanging               Hanging Handbags,Clothes,                    Handbags,Purses,Belts,Scarves,Hat      Space Saving Closet Rod Hooks for
                                      Purses, Handbags, Belts,Pots and            Handbags Purses Clothes(Black)           Curtain, Plant, Pans and Pots                s,Clothes,Pots and Pans. (8 Pack       Clothes, Bags, Plants, Pots (Black)
                                      Pans (Black)                                                                                                                      Black)

                                          Add to Cart                                 Add to Cart                              Add to Cart                                  Add to Cart                            Add to Cart



 Customer Rating                                        (164)                                       (314)                                    (229)                                        (439)                                  (184)
 Price                                $
                                          9 99                                    $
                                                                                      9 99                                 $
                                                                                                                               9 99                                     $
                                                                                                                                                                            8 98                               $
                                                                                                                                                                                                                   9 99
 Shipping                             FREE Shipping on orders over                FREE Shipping on orders over             FREE Shipping on orders over                 FREE Shipping on orders over           FREE Shipping on orders over
                                      $35.00 shipped by Amazon or get             $35.00 shipped by Amazon or get          $35.00 shipped by Amazon or get              $35.00 shipped by Amazon or get        $35.00 shipped by Amazon or get
                                      Fast, Free Shipping with Amazon             Fast, Free Shipping with Amazon          Fast, Free Shipping with Amazon              Fast, Free Shipping with Amazon        Fast, Free Shipping with Amazon
                                      Prime                                       Prime                                    Prime                                        Prime                                  Prime
 Sold By                              Autrow                                      zhangheting                              Myfolrena Official                           NEZA-US                                Fitnice Official
 Color                                Black                                       Black                                    Silver                                       Black                                  Black
 Material                             Stainless Steel                             Vinyl                                    Stainless Steel, Metal                       Metal, Vinyl                           Stainless Steel, Plastic
Case 2:23-cv-02000-WSS                                                                       Document 11-15                                               Filed 11/20/23                                            Page 13 of 28



Products related to this item                                                                                                                                                                                                                     Page 1 of 20
Sponsored




              ZEDODIER 14 Pack Purse              CLRBEATTY 100PCS             Purse Hanger for Closet,             Scarf Hanger Organizer        Purse Hanger Purse                Purse Hangers 16 Pack             12 Pack Purse Hanger
              Hooks for Closet,                   Clothes Hanger               Unique Twist Design Bag              for Closet, Hat Purse Belt    Organizer for Closet,S            Bag Hooks, Twist Shape            for Closet,Unique Twist
              Backpack Hanger Bag                 Connector Hooks,Space        Hanger Purse Hooks,                  Tie Hanger Organizer for      Hooks Twist Design Bag            Purse Hooks for Closet,           Design, Large Size Closet
              Holder, Closet Accesso...           Saving Extender Hooks…       Large Size Clo...                    Closet, ...                   Hanger,Closet Rod ...             Large Size Clo...                 Rod Hooks fo...
                            100                                4                             37                                    29                          439                                42                  $9.39     ($0.78/Count)
              $7.99                               $12.09                       $9.99       ($0.83/Count)            $12.99       ($2.60/Count)    $8.98    ($1.12/Count)            $11.99




                                                                                                                                                                                                        Sponsored

Similar brands on Amazon                                                                                                                                                                                                                           Page 1 of 2
Sponsored


                  Wiosi                                                                           TICONN                                                                   HOME DEPUTY
                  Shop the Store on Amazon   ›                                                    Shop the Store on Amazon   ›                                             Shop the Store on Amazon ›




                                    Purse Hanger Organizer for Closet 3 Pack                                        TICONN Wall Mounted Coat Rack, Five                                      HOME DEPUTY 6 Pack Purse Organizers
                                    - Durable Luxury Acrylic Holder for                                             Heavy Duty Tri Hooks All Metal                                           for Closet - 6 Bag Hooks - Silver - Purse
                                    Handbag Tote 449
                                                   Bag Satchel Backpack                                             Construction 1,444
                                                                                                                                 for Jacket Coat Hat in                                      Hangers for Closet 511 with Unique Twisted
                                    $Crossover
                                      29 . 99 - Holds Up to 66Lbs – Easy to                                         $Mudroom
                                                                                                                      18 . 46 Entryway (Matte Black, 2-Pack)                                 $Hook
                                                                                                                                                                                               12 . 50Design   which
                                                                                                                                                                                                         Typical:      Saves Space - Your
                                                                                                                                                                                                                   $13.50
                                    Clean, No Tools Required                                                                                                                                 Handbags Will Look Great in Your Closet




                                                                           Reviews with images                                                                                   See all photos
Customer reviews
                   4.8 out of 5
164 global ratings

5 star                                       83%
4 star                                       14%
3 star                                           1%
2 star                                           1%
1 star                                           1%                         Top reviews

   How customer reviews and ratings work
                                                                           Top reviews from the United States

By feature                                                                   Translate all reviews to English

Sturdiness                                            5.0
                                                                                     Patricia Fernández
Easy to use                                           4.8                                Bien
Value for money                                       4.7                  Reviewed in the United States on May 6, 2023
                                                                           Color: Silver Verified Purchase
                                                                           Después que las tengo, no me resultan tan útil
                                                                                Helpful              Report
Review this product
                                                                           Translate review to English
Share your thoughts with other customers
                                                                                     PS
              Write a customer review
                                                                                         Convenient and compact
                                                                           Reviewed in the United States on March 2, 2023
                                                                           Color: Black Verified Purchase
                                                                           The hooks are strong and an efficient use of space.
                                                                                Helpful              Report


                                                                                     ZimFromIrk

                                                                                          These do the job they're supposed to do
                                                                           Reviewed in the United States on September 23, 2022
                                                                           Color: Black Verified Purchase
                                                                           Good solid hangers. use them for the plethora -- PLETHORA! -- of laptop and camera bags I've
                                                                                                      I


                                                                           accumulated over the years and won't part with. These hangers allow me to... hang them in my office
                                                                           closet instead of taking up excessive shelf space or keeping them in a pile on the floor.
                                          Sponsored
                                                                           If theycan handle laptop bags, camera bags, and backpacks, they'll probably hang purses and other things
                                                                           with handles just fine.
Case 2:23-cv-02000-WSS                                                                          Document 11-15                                                Filed 11/20/23                                            Page 14 of 28




                                                                          2 people found this helpful
                                                                               Helpful            Report


                                                                                  Bernice

                                                                                         Organization Use
                                                                          Reviewed in the United States on February 1, 2023
                                                                          Color: Black Verified Purchase
                                                                          Great for organizing closet space
                                                                               Helpful            Report


                                                                                  Tamika Love

                                                                                        Perfect
                                                                          Reviewed in the United States on December 1, 2022
                                                                          Color: Black Verified Purchase
                                                                          These were exactly what needed. They are very sturdy and the color blended perfectly with my closet
                                                                                                         I


                                                                          design. will be purchasing more.
                                                                                   I



                                                                               Helpful            Report


                                                                                  Julie

                                                                                        So organized now
                                                                          Reviewed in the United States on November 25, 2022
                                                                          Color: Black Verified Purchase
                                                                          These really came in handy. Should have bought them along time ago. can actually see what
                                                                                                                                                          I                          I   have now.
                                                                               Helpful            Report


                                                                                  Susawn Phillips

                                                                                        Organization
                                                                          Reviewed in the United States on October 10, 2022
                                                                          Color: Silver Verified Purchase
                                                                          Iuse the hooks to keep my favorite bags, and purses organized. The hooks make my bags easy to see, while
                                                                          keeping them within reach.
                                                                               Helpful            Report


                                                                                  Bjains

                                                                                        LOVE
                                                                          Reviewed in the United States on September 24, 2022
                                                                          Color: Black Verified Purchase
                                                                          Exactly what was looking for and work great for my closet setup!
                                                                                            I



                                                                               Helpful            Report


                                                                          See more reviews



Similar items that may ship from close to you                                                                                                                                                                                                           Page 1 of 3




      BESARME 15 Pack Purse          12 Pack Purse Hanger                     Myfolrena Purse Hangers           Purse Hanger Purse                 BCISIWOS Purse Hanger                 Evob 20 Pack 3.4" S            ZEDODIER 14 Pack Purse
      Hanger for Closet,             for Closet,Unique Twist                  Bag Hooks Closet- 12              Organizer for Closet,S             for Closet, 10 Pack                   Shaped Hooks Stainless         Hooks for Closet,
      Unique Twist Design Bag        Design Bag Hanger Purse                  Pack Handbag Hanger               Hooks Twist Design Bag             Handbag Hanger                        Steel Metal Hangers            Backpack Hanger Bag
      Hanger Hooks, Purse            Hooks, Large Size Closet                 Organizer Metal S                 Hanger,Closet Rod                  Organizer Unique   30    Twist        Hanging Hooks for              Holder, Closet
      Organizer Hooks for            Rod Hooks for1,307      Hanging          Hooks, Large Size Closet          Hooks for Hanging                  Design
                                                                                                                                                      Save 8%Bag Hanger Purse            Kitchen, Work18,433
                                                                                                                                                                                                         Shop,          Accessories Organizer S
      Closet Large 314   Closet S    Necklace
                                        Amazon's Bags,Choice Purses,
                                                                 in Tie       Rod Hooks for229Hanging                               439
                                                                                                                Handbags,Purses,Belts,S            $Hooks,
                                                                                                                                                     6 . 99 Large Size Closet            Bathroom,   Garden in
                                                                                                                                                                                          Amazon's Choice               Hook for Hanging    100
      $Hooks
        9 . 99 for    Hanging        Handbags, Belts,                         $Handbags,Clothes,                $carves,Hats,Clothes,Pots           Rod Hooks                                                           $Purses,
                  ($0.67/Count)      Racks                                      9 . 99                            8 . 98 ($1.12/Count)              Typical:  $7.59 for Hanging          Utility Hooks                                Handbags, Bags,
                                                                                                                                                                                                                          7 . 99 ($0.57/Count)
       Handbags
       Get  it as soonPurses
                        as Sunday,   $Scarves,     Hats,Clothes,
                                       9 . 69 ($0.81/Count)                    Curtain,
                                                                               Get         Plant,as Sunday,
                                                                                    it as soon       Pans and    and itPans.
                                                                                                                 Get    as soon(8 asPack  Black)
                                                                                                                                      Sunday,       Purses, price
                                                                                                                                                    Lowest     Handbags,
                                                                                                                                                                      in 30 days         $ 6 . 47 ($0.32/Count)          Belts,it asScarves,
                                                                                                                                                                                                                         Get                  Hats,
                                                                                                                                                                                                                                      soon as Sunday,
       Clothes(Black)
       Nov 19                         Pansit asandsoonPots,
                                      Get                    Black
                                                         as Sunday,            Pots
                                                                               Nov 19                           Nov 19                              Clothes,
                                                                                                                                                    Get         Plant,
                                                                                                                                                         it as soon as Sunday,           Get it as soon as Sunday,       Clothes,
                                                                                                                                                                                                                         Nov    19 and Plant, Silver
      FREE Shipping on orders over   Nov 19                                   FREE Shipping on orders over      FREE Shipping on orders over        Pots(Black)
                                                                                                                                                    Nov 19                               Nov 19                         FREE Shipping on orders over
      $35 shipped by Amazon          FREE Shipping on orders over             $35 shipped by Amazon             $35 shipped by Amazon              FREE Shipping on orders over          FREE Shipping on orders over   $35 shipped by Amazon
                                     $35 shipped by Amazon                                                                                         $35 shipped by Amazon                 $35 shipped by Amazon




                                                                                                                                                                                    Sponsored
                           Case 2:23-cv-02000-WSS                                                                                    Document 11-15                                                        Filed 11/20/23                                                         Page 15 of 28



Best Sellers in Industrial & Scientific                                                                                                                                                                                                                                                                                                              Page 1 of 5




         MedPride Powder-Free              iHealth COVID-19                         Cascade Platinum Plus                Pampers Sensitive Baby             Med PRIDE NitriPride                 SYLVANIA ECO LED Light                Gorilla Super Glue Gel                     iHealth COVID-19                 Med PRIDE Medical Vinyl
         Nitrile Exam Gloves,              Antigen Rapid Test, 1                    ActionPacs Dishwasher                Wipes - Baby Wipes                 Nitrile-Vinyl Blend Exam             Bulb, A19 60W                         XL, 25 Gram, Clear, (Pack                  Antigen Rapid Test, 1            Examination Gloves
         Medium, Box/100                   Pack, 5 Tests Total, FDA                 Detergent Pods, Fresh,               Combo, 1008 Count,                 Gloves, Medium 100 -                 Equivalent, Efficient 9W,             of 1)                                      Pack, 2 Tests Total, FDA         (Large, 100-Count) Latex
                         86,073            EUA Authorized OTC at-                   62 Count                             Water Based,                       Powder Free, Latex Free              7 Year, 750 Lumens,                                        29,991                EUA Authorized OTC at-           Free Rubber     |


           #1 Best Seller in Industrial    Home Self Test,    19,056
                                                                   Results                          87,487               Hypoallergenic198,946
                                                                                                                                           and              & Rubber Free40,932    - Single                      41,995
                                                                                                                                                                                                 2700K, Non-Dimmable,                    #1 Best Seller in                        Home Self Test, Results          Disposable, Ultra-Strong,
         & Scientific                      in#115Best
                                                    Minutes
                                                       Seller with    Non-
                                                                in Clinical           #1 Best Seller in                  Unscented    (Packaging
                                                                                                                          #1 Best Seller  in                Use     Non-Sterile
                                                                                                                                                               Amazon's     Choice     in        Frosted,  Soft White
                                                                                                                                                                                                  #1 Best Seller   in LED - 8          Cyanoacrylate Adhesives                    in 15 Minutes 207,146with Non-   Clear Fluid, Blood,
                                                                                                                                                                                                                                                                                                                          |           86,679
         $ 9 . 99 ($0.10/Count)            invasive Nasal
                                           Diagnostic           Swab,
                                                         Test Kits                  Commercial Dishwasher                May Vary)Component
                                                                                                                         Electronic                         Protective
                                                                                                                                                            Medical     ExamGloves
                                                                                                                                                                               Gloves for        Pack (40821)
                                                                                                                                                                                                 Bulbs                                 $ 8 . 57 ($9.74/Ounce)                     $invasive
                                                                                                                                                                                                                                                                                    17 . 98 Nasal       Swab,
                                                                                                                                                                                                                                                                                                ($8.99/Count)      $Exam,
                                                                                                                                                                                                                                                                                                                     8 . 99 Healthcare,
                                                                                                                                                                                                                                                                                                                               ($0.09/Count) Food
         Get it as soon as Sunday,         $Easy   to Use
                                             44 . 95         & No
                                                        ($8.99/Count)               Detergents                           Sensors                            $Medical     Use,   Cooking,         $ 13 . 42 ($1.68/Count)               Get it as soon as Sunday,                   Easyit toas soon
                                                                                                                                                                                                                                                                                   Get         Use &as No
                                                                                                                                                                                                                                                                                                       Sunday,      Handling
                                                                                                                                                                                                                                                                                                                    Get           Useas Monday,
                                                                                                                                                                                                                                                                                                                         it as soon      No
                                                                                                                                                              9 . 99    ($0.10/Count)                                                                                                                                                  |


         Nov 19                             Discomfort
                                            Get it as soon as Sunday,               $ 17 . 59 ($0.28/Count)              $ 34 . 97 ($3.47/100 Count)         Cleaning      & More                Get it as soon as Tuesday,            Nov 19                                      Discomfort
                                                                                                                                                                                                                                                                                   Nov 19                           Powder
                                                                                                                                                                                                                                                                                                                    Nov 20
                                                                                                                                                             Get  it as soon as Sunday,
         FREE Shipping on orders over      Nov 19                                   Get it as soon as Wednesday,         Get it as soon as Monday,          Nov 19                               Nov 21                                FREE Shipping on orders over               FREE Shipping on orders over     FREE Shipping on orders over
         $35 shipped by Amazon             FREE Shipping by Amazon                  Nov 22                               Nov 20                             FREE Shipping on orders over         FREE Shipping on orders over          $35 shipped by Amazon                      $35 shipped by Amazon            $35 shipped by Amazon
                                                                                    FREE Shipping on orders over         FREE Shipping on orders over       $35 shipped by Amazon                $35 shipped by Amazon
                                                                                    $35 shipped by Amazon                $35 shipped by Amazon


Customers who viewed items in your browsing history also viewed                                                                                                                                                                                                                                                                                      Page 1 of 6




         12 Pack Purse Hanger              Purse Hanger Purse                       Fitnice 10 Pack Purse                ZEDODIER 14 Pack Purse             BESARME 15 Pack Purse                Myfolrena Purse Hangers               CTOHN 20 Pack Purse                        GEZIDEA Purse Hanger S           Yzerel 12Pcs S Hooks
         for Closet,Unique Twist           Organizer for Closet,S                   Hanger for Closet, S                 Hooks for Closet,                  Hanger for Closet,                   Bag Hooks Closet- 12                  Hanger for Closet,                         Hooks Twisted S Hooks            Hanging Safety Buckle -
         Design Bag Hanger Purse           Hooks Twist Design Bag                   Hooks for Hanging                    Backpack Hanger Bag                Unique Twist Design Bag              Pack Handbag Hanger                   Unique Twist Design Bag                    Closet Rod Hooks for             3.5 inch Heavy Duty S
         Hooks, Large Size Closet          Hanger,Closet Rod                        Twisted Purse Hooks                  Holder, Closet                     Hanger Hooks, Purse                  Organizer Metal S                     Hanger Purse Hooks,                        Handbags,Bags,Clothes,P          Hooks,Hanging Plants
         Rod Hooks for1,307   Hanging      Hooks for Hanging                        Heavy Duty S Hooks                   Accessories Organizer S            Organizer Hooks   314 for            Hooks, Large Size Closet              Purse Organizer Hooks                      ures,Hats,10Pack                 for Closet Hooks,
         Necklace
            Amazon's Bags,
                       Choice Purses,
                                  in Tie                       439
                                           Handbags,Purses,Belts,S                  Handbag Hanger      184              Hook for Hanging    100            Closet    Large
                                                                                                                                                               Amazon's       Closetin S
                                                                                                                                                                          Choice                 Rod Hooks for229Hanging               for Closet, S Hooks17       for            (Large&90Deg)                    Clothes, Kitchen   315 Utensil,
         Handbags,
         Racks           Belts,            $carves,Hats,Clothes,Pots
                                             8 . 98 ($1.12/Count)                   $Organizer       Space Saving
                                                                                      9 . 99 ($1.00/Count)               $Purses,      Handbags, Bags,
                                                                                                                           7 . 99 ($0.57/Count)             Hooks     for
                                                                                                                                                            Utility Hooks  Hanging               $Handbags,Clothes,
                                                                                                                                                                                                   9 . 99                              $Hanging       Handbags
                                                                                                                                                                                                                                         9 . 98 ($0.50/Count)                                     353              $Pots
                                                                                                                                                                                                                                                                                                                     6 . 12and($0.51/Fl
                                                                                                                                                                                                                                                                                                                                 Pans, Bags
                                                                                                                                                                                                                                                                                                                                         Oz)
         $Scarves,   Hats,Clothes,
           9 . 69 ($0.81/Count)             and itPans.
                                            Get    as soon(8 asPack  Black)
                                                                 Sunday,             Closet
                                                                                     Get  it as Rod
                                                                                                 soon Hooks   for
                                                                                                       as Monday,         Belts,it asScarves,
                                                                                                                          Get                  Hats,
                                                                                                                                       soon as Sunday,      $Handbags      Purses
                                                                                                                                                              9 . 99 ($0.67/Count)                Curtain,
                                                                                                                                                                                                  Get         Plant,as Sunday,
                                                                                                                                                                                                       it as soon       Pans and        Purses
                                                                                                                                                                                                                                        Get  it as Clothes   Belts
                                                                                                                                                                                                                                                    soon as Sunday,                                                 (Black)
                                                                                                                                                                                                                                                                                                                    Get it as soon as Sunday,
          Pans
          Get it and   Pots,
                 as soon      Black
                          as Sunday,       Nov 19                                    Clothes,
                                                                                     Nov   20 Bags, Plants,               Clothes,
                                                                                                                          Nov    19 and Plant, Silver        Clothes(Black)
                                                                                                                                                             Get it as soon as Sunday,            Pots
                                                                                                                                                                                                  Nov 19                                (Black)
                                                                                                                                                                                                                                        Nov 19                                                                     Nov 19
         Nov 19                            FREE Shipping on orders over              Pots Shipping
                                                                                     FREE    (Black) on orders over      FREE Shipping on orders over       Nov 19                               FREE Shipping on orders over          FREE Shipping on orders over                                                FREE Shipping on orders over
         FREE Shipping on orders over      $35 shipped by Amazon                    $35 shipped by Amazon                $35 shipped by Amazon              FREE Shipping on orders over         $35 shipped by Amazon                 $35 shipped by Amazon                                                       $35 shipped by Amazon
         $35 shipped by Amazon                                                                                                                              $35 shipped by Amazon




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                                                                              Amazon                                        Sell apps on Amazon                                     Amazon Store Card                                                Your Orders
                                                                              Newsletter
                                                                                                                            Supply to Amazon                                        Amazon Secured Card                                              Shipping Rates &
                                                                              About Amazon                                                                                                                                                           Policies
                                                                                                                            Protect & Build Your                                    Amazon Business Card
                                                                              Accessibility                                 Brand                                                                                                                    Amazon Prime
                                                                                                                                                                                    Shop with Points
                                                                              Sustainability                                Become an Affiliate                                                                                                      Returns &
                                                                                                                                                                                    Credit Card Marketplace                                          Replacements
                                                                              Press Center                                  Become a Delivery Driver
                                                                                                                                                                                    Reload Your Balance                                              Manage Your
                                                                              Investor Relations                            Start a Package Delivery                                                                                                 Content and Devices
                                                                                                                            Business                                                Gift Cards
                                                                              Amazon Devices                                                                                                                                                         Your Recalls and
                                                                                                                            Advertise Your Products                                 Amazon Currency Converter
                                                                              Amazon Science                                                                                                                                                         Product Safety Alerts
                                                                                                                            Self-Publish with Us                                                                                                     Help
                                                                                                                            Host an Amazon Hub
                                                                                                                            ›See More Ways to Make
                                                                                                                            Money




                                                                                                                                                                        English                  United States




                                                                              Amazon Music                      Amazon Ads             6pm                                 AbeBooks                    ACX                         Sell on Amazon                    Amazon
                                                                              Stream millions                   Reach                  Score deals                         Books, art                  Audiobook                   Start a Selling                   Business
                                                                              of songs                          customers              on fashion brands                   & collectibles              Publishing                  Account                           Everything
                                                                                                                wherever                                                                               Made Easy                                                     For
                                                                                                                they                                                                                                                                                 Your
                                                                                                                spend their                                                                                                                                          Business
                                                                                                                time

                                                                              Amp                               Amazon                 AmazonGlobal                        Home Services               Amazon Web                  Audible                           Box Office
                                                                              Host your own live                Fresh                  Ship Orders                         Experienced Pros            Services                    Listen to Books &                 Mojo
                                                                              radio show with                   Groceries &            Internationally                     Happiness                   Scalable Cloud              Original                          Find Movie
                                                                              music you love                    More                                                       Guarantee                   Computing                   Audio                             Box Office
                                                                                                                Right To Your                                                                          Services                    Performances                      Data
                                                                                                                Door

                                                                              Goodreads                         IMDb                   IMDbPro                             Kindle Direct               Amazon Photos               Prime Video                       Shopbop
                                                                              Book reviews                      Movies, TV             Get Info Entertainment              Publishing                  Unlimited                   Direct                            Designer
                                                                              & recommendations                 & Celebrities          Professionals Need                  Indie Digital &             Photo Storage               Video                             Fashion
                                                                                                                                                                           Print Publishing            Free With                   Distribution                      Brands
                                                                                                                                                                           Made Easy                   Prime                       Made Easy

                                                                              Amazon Warehouse                  Whole Foods            Woot!                               Zappos                      Ring                        eero WiFi                         Blink
                                                                              Great Deals on                    Market                 Deals and                           Shoes &                     Smart Home                  Stream 4K Video                   Smart
                                                                              Quality Used Products             America’s              Shenanigans                         Clothing                    Security                    in Every Room                     Security
                                                                                                                Healthiest                                                                             Systems                                                       for Every
                                                                                                                Grocery Store                                                                                                                                        Home
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                   Neighbors   Amazon Subscription           PillPack                 Amazon
                   App         Boxes                         Pharmacy                 Renewed
                   Real-Time   Top subscription boxes        Simplified               Like-new
                   Crime       – right to your door                                   products
                   & Safety                                                           you can trust
                   Alerts



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         Third Webpage Showing Sale of Infringing
                    Product Type 3
                                Case 2:23-cv-02000-WSS                                                                                      Document 11-15                                                       Filed 11/20/23                                                  Page 18 of 28



    Skip to main content   Delivering to Albany 12201
                                                                 All
                                                                                                                                                                                                                                                                                                            Hello, sign in           Returns            0
                           Update location                                                                                                                                                                                                                                                          EN      Account & Lists          & Orders               Cart

        All    Holiday Deals     Medical Care           Best Sellers       Amazon Basics            Prime             Registry     New Releases           Today's Deals        Customer Service       Music     Whole Foods         Books        Fashion       Amazon Home               Pharmacy        Gift Cards               Join Prime today for deals

     Amazon Home               Shop by Room                             Discover                                Shop by Style                       Home Décor                            Furniture                        Kitchen & Dining                             Bed & Bath                          Garden & Outdoor                   Home Improvement




                                                                                                                                                                                                                                                                                                                                                       Sponsored

                                Consider these available items
                                                             BCISIWOS Purse Hanger for Closet, 10 Pack                                                            BCISIWOS Purse Hanger for Closet, 12 Pack Purse                                               10 Pack Purse Hanger for Closet, S Hooks Twist
                                                             Handbag Hanger Organizer Unique Twist Design                                                         Hooks Organizer Unique Twist Design Bag Hanger                                                Design Bag Hanger Large Size Closet Rod Hooks
                                                                                                                                                                                                                                                                                          ,

                                                             Bag Hanger Purse Hooks, Large Size Closet Rod                                                        Purse Hooks, 4.5 Inch Large Size Bag Hanger                                                   for Hanging Purses, Belts,Handbags, Scarves,
                                                             Hooks for Hanging Purses, Handbags, Clothes, Pl…                                                     Hooks for Hanging Bags, Purses, Clothes, Pans &…                                              Hats,Clothes, Pans and Pots(Silver)
                                                                           30                                                                                                   30                                                                                            64
                                                             $
                                                                 6 99                                                                                             $
                                                                                                                                                                      7 99                                                                                      $
                                                                                                                                                                                                                                                                    9 99 ($2.00/Ounce)
                                  Home & Kitchen › Storage & Organization          ›   Home Storage Hooks   ›    Utility Hooks


                                                                                                                                                               12 Pack Purse Hanger for Closet, DSVENROLY                                                                                   Currently unavailable.
                                                                                                                                                                                                                                                                                         We don't know when or if this
                                                                                                                                                               Unique Twist Design Closet Organizer Hanger                                                                                 item will be back in stock.
                                                                                                                                                               Hooks, Closet Hooks for Hanging Purses Handbags                                                                             Delivering to Albany 12201 -
                                                                                                                                                                                                                                                                                           Update location
                                                                                                                                                               Clothes Pans and Pots (Silver)
                                                                                                                                                               Visit the DSVENROLY Store
                                                                                                                                                                                                                                                                                         Add to List
                                                                                                                                                               4.7                  4 ratings

                                                                                                                                                                        Best price

                                                                                                                                                               Currently unavailable.
                                                                                                                                                               We don't know when or if this item will be back in stock.
                                                                                                                                                               Color                        Silver
                                                                                                                                                               Brand                        DSVENROLY
                                                                                                                                                               Material                     Alloy Steel, Plastic, Rubber
                                                                                                                                                               Special Feature              Anti Rust
                                                                                                                                                               Number of Pieces             12

                                                                                                                                                               About this item                                                                                                                                        Sponsored

                                                                            Roll over image to zoom in                                                           【Excellent Quality】: DSVENROLY closet bar hooks made of premium steel
                                                                                                                                                                 material.No snapping or bending but also have a plastic coating on the outside, so they
                                                                                                                                                                 don’t rust or scratch your walls or your belongings
                                                                                                                                                                 【Unique Twist Design】Upgraded the regular S hook and twisted it 90°, which allows
                                                                                                                                                                 you to hang your bags vertically in the closet.All handbag hanger coated with a rubber
                                                                                                                                                                 tip on the ends to protect your handbag straps
                                                                                                                                                                 【Sturdy and Useful】Purse organizer for closet, one large opening end is 1.8 inch, the
                                                                                                                                                                 other is 1.7inch.it fits all rods less than 1.7 inch thickness. Each wallet hanger weight
                                                                                                                                                                 0.06lbs, light and portable, but strong enough to Hold up to 22lbs.
                                                                                                                                                                 【Great Space Saver】Works perfectly for hanging bags,backpacks,jeans, belts or
Infringing Product                                                                                                                                               whatever else you may desire.With these hooks, everything hangs while turned to take
                                                                                                                                                                 up less space, which means you can easily fit in way more things in the same space

      Type 3                                                                                                                                                     【Widely Applications】The item comes with 12PC Purse Hanger Hooks. They also can
                                                                                                                                                                 be used for tidy your various accessories or tools for indoor and outdoor use, display
                                                                                                                                                                 plants/wind chimes or tidy other tools.If you wanted to, you could even hang the
                                                                                                                                                                 hooks under each other and save on vertical space as well as horizontal space




                                                                                                                                                                 Sponsored



                                  Products related to this item                                                                                                                                                                                                                                                  Page 1 of 17
                                  Sponsored




                                                CTOHN 20 Pack Purse                       12 Pack Purse Hanger                   Purse Hanger for Closet,              BCISIWOS Purse Hanger            Scarf Hanger Organizer                Purse Hanger Organizer                 AMKUFO Hangers-
                                                Hanger for Closet,                        for Closet,Unique Twist                Unique Twist Design Bag               for Closet, 10 Pack              for Closet, Hat Purse Belt            for Closet 2-Pack, Fitnice             Space-Saving-12 Pack -
                                                Unique Twist Design Bag                   Design, Large Size Closet              Hanger Purse Hooks,                   Handbag Hanger                   Tie Hanger Organizer for              Metal Handbag Hangers                  Closet-Organizers-and-
                                                Hanger Purse Hooks, ...                   Rod Hooks fo...                        Large Size Clo...                     Organizer Unique…                Closet, ...                           Space Savin...                         Storage for Dorm…
                                                             17                           $9.39    ($0.78/Count)                               37                                    30                                29                                    57                                   78
                                                $9.98     ($0.50/Count)                                                          $9.99    ($0.83/Count)                $6.99                            $12.99      ($2.60/Count)             $9.99    ($5.00/Count)                 $11.99      ($1.00/Count)


                                                                                                                                                                                                                                              Save 10% with coupon



                                  More from frequently bought brands
                                  Sponsored




                                                Myfolrena Purse Hangers                   Purses Hanger Organizer                mDesign Metal Wire                    Maitys 18 Pieces Purse           mDesign Hanging Closet                mDesign Metal Wire
                                                Bag Hooks Closet- 12                      for Closet, Myfolrena                  Over The Rod Hanging                  Hanger Hook Acrylic Bag          Storage Hook -                        Over The Rod Hanging
                                                Pack Handbag Hanger                       Metal Purse Holder for                 Closet Accessory S Hook               Hanger Handbag Tote              Organizes Handbags,                   Closet Accessory S Hook
                                                Organizer Metal S ...                     Closet Space S...                      for Handbags, Belts...                Bag Rack Holder ...              Scarves, Ties, Belts, Acc...          for Handbags, Belts...
                                                             227                                        313                                    162                                  13                                 597                                  99
                                                $9.99                                     $6.99    ($0.58/Fl Oz)                 $17.99     ($2.25/Count)              $29.99     ($1.67/Count)         $11.99      ($3.00/Count)             $11.99       ($4.00/Count)
Case 2:23-cv-02000-WSS                                   Document 11-15                                Filed 11/20/23                            Page 19 of 28



Product Description




                      The twisted design of the hook helps to save space in your closet and maximizes your storage capacity




                      With these hooks, everything hangs while turned to take up less space, which means you can easily fit in way more things
                      in the same space
Case 2:23-cv-02000-WSS                                                                    Document 11-15                                  Filed 11/20/23                                     Page 20 of 28



                                       Clever way to store your purses. Makes more room in your closet and makes it easier to see your purses and ease in
                                       selecting which bag to use




                                       These are so versatile they could work anywhere. Excellent way to remove clutter and keep purses looking great.




                                       Sturdy and Durable Purse Hooks                       Excellent Quality Purse Hanger                 Heavy Duty S Hooks, Great Space
                                       one large opening end is 1.8 inch,                   They are well built.                           Saver
                                                                                                                                           Include 12PC Purse Hanger Hooks
                                       the other is 1.7inch.                                Made of sturdy metal (no snapping or
                                                                                            bending)                                       These S hooks are highly versatile and can
                                       It fits all   rods less than 1.7 inch thickness.                                                    work in a large number of environments
                                                                                            but also have a plastic coating on the
                                       Each wallet hanger weight 0.06lbs,                   outside. So they don’t rust or scratch your    Can be used to hang clothes, pants, bags,
                                       Strong enough to Hold up to 22lbs                    walls or your belongings.                      belts, ties, hats, scarves, towels, pots, pans,
                                                                                                                                           cups, kitchen utensils and so on.
                                       .




Videos
       Videos for related products




                                                     0:30
         15 Pack Purse Hanger for Closet, for Better
         Organized
         zhangheting




 Upload your video




Looking for specific info?



Product information
Case 2:23-cv-02000-WSS                                                                             Document 11-15                                           Filed 11/20/23                                       Page 21 of 28



     Color                                                             Silver                                                         Feedback
     Brand                                                             DSVENROLY                                                       Would you like to tell us about a lower price?

     Material                                                          Alloy Steel, Plastic, Rubber

     Special Feature                                                   Anti Rust

     Number of Pieces                                                  12

     Number of Items                                                   12

     Package Dimensions                                                5.2 x 2.8 x 2.52 inches

     Item Weight                                                       1.06 ounces

     Manufacturer                                                      DSVENROLY

     ASIN                                                              B0B53CKGZ7

     Customer Reviews                                                  4.7                        4 ratings
                                                                       4.7 out of 5 stars

     Best Sellers Rank                                                 #1,435,290 in Industrial & Scientific ( See Top 100 in
                                                                       Industrial & Scientific )
                                                                       #10,590 in Utility Hooks
                                                                       #17,057 in Industrial Hooks
                                                                       #575,561 in Hardware

     Date First Available                                              June 25, 2022




Important information
    To report an issue with this product, click here     .




Products related to this item                                                                                                                                                                                                            Page 1 of 9
Sponsored




                Purse Hanger for Closet,         Hanger Connector                     GEFTOL Space Saving            Belt Hanger, HOMEBROS          CTOHN 20 Pack Purse            12 Pack Purse Hanger          BCISIWOS Purse Hanger
                Unique Twist Design Bag          Hooks，Space Saving                   Hangers Metal Hanger           Silver 360° Rotatable          Hanger for Closet,             for Closet,Unique Twist       for Closet, 10 Pack
                Hanger Purse Hooks,              Hanger Hooks for                     Magic Cascading Hanger         Metal Belt Rack                Unique Twist Design Bag        Design, Large Size Closet     Handbag Hanger
                Large Size Clo...                Organizer Closet,18…                 Closet Clothes Orga...         Organizer for Closet Sp...     Hanger Purse Hooks, ...        Rod Hooks fo...               Organizer Unique…
                              37                              112                                   8,319                          33                            17                $9.39    ($0.78/Count)                      30
                $9.99    ($0.83/Count)           $8.97       ($0.50/Count)            $7.99      ($2.00/Count)       $7.99                          $9.98    ($0.50/Count)                                       $6.99




                                                                                                                                                                                                     Sponsored



Customer reviews                                                                   No customer reviews
                     4.7 out of 5
                                                                                     There are 0 customer reviews and 4 customer ratings.
4 global ratings

5 star                                        69%
4 star                                        31%
3 star                                          0%
2 star                                          0%
1 star                                          0%

   How customer reviews and ratings work



Review this product
Share your thoughts with other customers

                Write a customer review




                                           Sponsored
                            Case 2:23-cv-02000-WSS                                                                                    Document 11-15                                                           Filed 11/20/23                                              Page 22 of 28



                              Based on your recent shopping trends                                                                                                                                                                                                                                         Page 1 of 7




                                             Fitnice 10 Pack Purse                    HiGift 8 Pack Purse                SAVITA 10pcs Purse                 BCISIWOS Purse Hanger                   12 Pack Purse Hangers                12 Pack Purse Hanger                GEZIDEA Purse Hanger S
                                             Hanger for Closet, S                     Hanger for Closet,                 Hooks for Closet, Heavy            for Closet, 10 Pack                     for Closet,Unique                    for Closet, Twist Design            Hooks Twisted S Hooks
                                             Hooks for Hanging                        Unique Twist Design                Duty Black S Hooks for             Handbag Hanger                          Twisted Purse                        Bag Hanger Purse Hooks              Closet Rod Hooks for
                                             Twisted Purse Hooks                      Bags Hanger 457       Hooks,       Hanging Clothes in a               Organizer Unique   30    Twist          Hooks,Black Closet Rod               Closet Organizer, 17 Large          Handbags,Bags,Clothes,P
                                             Heavy Duty S 184     Hooks               Large      Size Closet Rod
                                                                                          Save 11%                       Closet Handbags Twist              Design
                                                                                                                                                               Save 8%Bag Hanger Purse              S Hooks for Hanging                  Closet
                                                                                                                                                                                                                                            Save 9%Rod S Hooks for           ures,Hats,10Pack
                                             Handbag
                                                Amazon's Hanger
                                                           Choice      in             $Hooks
                                                                                         7 . 99   for  Hanging                            70
                                                                                                                         Design with Rubber                 $Hooks,
                                                                                                                                                              6 . 99   Large    Size Closet                          129
                                                                                                                                                                                                    Bags,Jeans,Purses,Bag                $Hanging
                                                                                                                                                                                                                                           9 . 99     Bags,   Purses,        (Large&90Deg)
                                             OrganizerHooks Space Saving               Purses,                                                                                                                                                                                              353
                                                                                              $8.99Handbags, Belts,
                                                                                                                         $Stopper    for Living Room         Rod Hooks$7.59 for Hanging
                                                                                                                                                                                                    $Hooks
                                                                                                                                                                                                      11 . 99with   Rubber                Handbags,
                                             Utility                                   List:                               11 . 99 ($1.20/Count)             Typical:                                           ($1.00/Count)             Typical: $10.99Belts, Hats,
                                             $Closet
                                               9 . 99 Rod    Hooks for
                                                        ($1.00/Count)                  Scarves, price
                                                                                       Lowest        Hats,Clothes,
                                                                                                           in 30 days     Kitchen
                                                                                                                          Get        Bathroom
                                                                                                                              it as soon         S
                                                                                                                                         as Tuesday,         Purses, price
                                                                                                                                                             Lowest    Handbags,
                                                                                                                                                                               in 30 days            Stopper
                                                                                                                                                                                                     Get it as soon as Wednesday,         Plants, Pots
                                                                                                                                                                                                                                          Lowest    price (Black)
                                                                                                                                                                                                                                                           in 30 days
                                              Clothes,    Bags,as Monday,
                                              Get it as soon       Plants,             Pans
                                                                                       Get it and     Potsas Sunday,
                                                                                                as soon      - Black      Hooks21 Rod (Black)
                                                                                                                          Nov                                Clothes,   Plant,as Sunday,
                                                                                                                                                             Get it as soon                         Nov 22                               Get it as soon as Monday,
                                              Pots 20(Black)
                                              Nov                                     Nov 19                             FREE Shipping on orders over        Pots(Black)
                                                                                                                                                             Nov 19                                 FREE Shipping on orders over         Nov 20
                                             FREE Shipping on orders over             FREE Shipping on orders over       $35 shipped by Amazon              FREE Shipping on orders over            $35 shipped by Amazon                FREE Shipping on orders over
                                                                                                                         Only 13 left in stock - order
                                             $35 shipped by Amazon                    $35 shipped by Amazon              soon.                              $35 shipped by Amazon                                                        $35 shipped by Amazon




                                                                                                                                                                                                                                       Sponsored




Best Sellers in Kitchen & Dining                                                                                                                                                                                                                                                                                                                   Page 1 of 6




        Stanley Quencher H2.0                  Owala FreeSip Insulated                 Stanley IceFlow Stainless         Alpha Grillers Instant             Simple Modern 40 oz                     Vegetable Chopper, Pro             Reynolds Kitchens Slow              The Original Gorilla Grip         Simple Modern 30 oz
        FlowState Stainless Steel              Stainless Steel Water                   Steel Tumbler with                Read Meat Thermometer              Tumbler with Handle                     Onion Chopper,                     Cooker Liners, Regular              Heavy Duty Stainless              Tumbler with Handle
        Vacuum Insulated                       Bottle with Straw for                   Straw, Vacuum Insulated           for Grill and Cooking.             and Straw Lid Insulated
                                                                                                                                                                                 |                  Multifunctional 13 in 1            (Fits 3-8 Quarts), 6                Steel Smooth Edge                 and Straw Lid Insulated
                                                                                                                                                                                                                                                                                                                               |


        Tumbler with Lid and                   Sports and Travel, BPA-                 Water Bottle for Home,            Best Waterproof Ultra              Cup Reusable Stainless                  Food Chopper,15,587 Kitchen        Count                               Manual Hand Held Can              Cup Reusable Stainless
        Straw for Water,  30,515
                               Iced Tea                      26,933 Field
                                               Free, 24oz, Dreamy                      Office or Car, Reusable           Fast Thermometer 56,292 with       Steel Water Bottle Travel               Vegetable     Slicerin Dicer
                                                                                                                                                                                                      #1 Best Seller                                      65,968           Opener With 10,076Soft Touch      Steel Water Bottle Travel
        or#1 Coffee,  Smoothie
              Best Seller   in Homeand&          #1 Best Seller in Travel &            Cup with Straw 18,907             Backlight     & Calibration.
                                                                                                                           #1 Best Seller    in Patio,      Mug Cupholder       23,957
                                                                                                                                                                                    Friendly    |   Cutter,Veggie
                                                                                                                                                                                                    Seasoning   & SpiceChopper
                                                                                                                                                                                                                          Choppers       #1 Best Seller in Slow            Handle,     Rust Proof
                                                                                                                                                                                                                                                                             #1 Best Seller    in Manual     Mug Cupholder     70 Friendly     |


        More
        Kitchen                                To-Go Drinkware                         $Leakproof
                                                                                         35 . 00 Flip                    Digital& Garden
                                                                                                                         Lawn       Food Probe for          $Gifts
                                                                                                                                                              29 . 99for Women Men                  With
                                                                                                                                                                                                      50% 8offBlades,Carrot
                                                                                                                                                                                                                 Deal            and   Cookers                             Oversized
                                                                                                                                                                                                                                                                           Can   Openers Handheld Easy       Gifts
                                                                                                                                                                                                                                                                                                               20% for
                                                                                                                                                                                                                                                                                                                     off Women
                                                                                                                                                                                                                                                                                                                          Deal     Him
        $ 35 . 00                              $ 24 . 97                               Get it as soon as Sunday,         $Kitchen,
                                                                                                                           15 . 99 Outdoor Grilling          Him it Her
                                                                                                                                                             Get     as soonTrek
                                                                                                                                                                        |          Collection
                                                                                                                                                                               as Sunday,           Garlic Chopper With                $ 3 . 48 ($0.58/Count)              $Turn   Knob, Large Lid
                                                                                                                                                                                                                                                                             13 . 99                         Her Trek Collection
                                                                                                                                                                                                                                                                                                                  |                     |
                                                                                                                                                                                                    $ 17 . 08                                                                                                $ 21 . 59
        Get it as soon as Wednesday,           Get it as soon as Sunday,               Nov 19                             and itBBQ!
                                                                                                                          Get    as soon as Sunday,         | Almond
                                                                                                                                                             Nov  19       Birch                    Container (Gray)                   Get it as soon as Sunday,            Openers,
                                                                                                                                                                                                                                                                            Get         Black
                                                                                                                                                                                                                                                                                it as soon as Sunday,        Sea Glass Sage
                                                                                                                                                                                                    List: $33.99                                                                                             List: $26.99
        Nov 22                                 Nov 19                                  FREE Shipping by Amazon           Nov 19                             FREE Shipping on orders over                                               Nov 19                              Nov 19
                                                                                                                                                                                                    Get it as soon as Sunday,
        FREE Shipping by Amazon                FREE Shipping on orders over                                              FREE Shipping on orders over       $35 shipped by Amazon                                                      FREE Shipping on orders over        FREE Shipping on orders over
                                                                                                                                                                                                    Nov 19
                                               $35 shipped by Amazon                                                     $35 shipped by Amazon                                                                                         $35 shipped by Amazon               $35 shipped by Amazon
                                                                                                                                                                                                    FREE Shipping on orders over
                                                                                                                                                                                                    $35 shipped by Amazon


Customers who viewed items in your browsing history also viewed                                                                                                                                                                                                                                                                                    Page 1 of 6




        12 Pack Purse Hanger                   Purse Hanger Purse                      Fitnice 10 Pack Purse             ZEDODIER 14 Pack Purse             BESARME 15 Pack Purse                   Myfolrena Purse Hangers            CTOHN 20 Pack Purse                 GEZIDEA Purse Hanger S            Yzerel 12Pcs S Hooks
        for Closet,Unique Twist                Organizer for Closet,S                  Hanger for Closet, S              Hooks for Closet,                  Hanger for Closet,                      Bag Hooks Closet- 12               Hanger for Closet,                  Hooks Twisted S Hooks             Hanging Safety Buckle -
        Design Bag Hanger Purse                Hooks Twist Design Bag                  Hooks for Hanging                 Backpack Hanger Bag                Unique Twist Design Bag                 Pack Handbag Hanger                Unique Twist Design Bag             Closet Rod Hooks for              3.5 inch Heavy Duty S
        Hooks, Large Size Closet               Hanger,Closet Rod                       Twisted Purse Hooks               Holder, Closet                     Hanger Hooks, Purse                     Organizer Metal S                  Hanger Purse Hooks,                 Handbags,Bags,Clothes,P           Hooks,Hanging Plants
        Rod Hooks for1,307      Hanging        Hooks for Hanging                       Heavy Duty S Hooks                Accessories Organizer S            Organizer Hooks   314 for               Hooks, Large Size Closet           Purse Organizer Hooks               ures,Hats,10Pack                  for Closet Hooks,
        Necklace
           Amazon's Bags,Choice Purses,
                                    in Tie                         439
                                               Handbags,Purses,Belts,S                 Handbag Hanger      184           Hook for Hanging    100            Closet    Large
                                                                                                                                                               Amazon's       Closetin S
                                                                                                                                                                          Choice                    Rod Hooks for229Hanging            for Closet, S Hooks17       for     (Large&90Deg)                     Clothes, Kitchen   315 Utensil,
        Handbags, Belts,
        Racks                                  $carves,Hats,Clothes,Pots
                                                 8 . 98 ($1.12/Count)                  $Organizer       Space Saving
                                                                                         9 . 99 ($1.00/Count)            $Purses,      Handbags, Bags,
                                                                                                                           7 . 99 ($0.57/Count)             Hooks Hooks
                                                                                                                                                            Utility   for Hanging                   $Handbags,Clothes,
                                                                                                                                                                                                      9 . 99                           $Hanging       Handbags
                                                                                                                                                                                                                                         9 . 98 ($0.50/Count)                             353                $Pots
                                                                                                                                                                                                                                                                                                               6 . 12and($0.51/Fl
                                                                                                                                                                                                                                                                                                                           Pans, Bags
                                                                                                                                                                                                                                                                                                                                   Oz)
        $Scarves,     Hats,Clothes,
          9 . 69 ($0.81/Count)                  and itPans.
                                                Get    as soon(8 asPack  Black)
                                                                     Sunday,            Closet
                                                                                        Get  it as Rod
                                                                                                    soon Hooks   for
                                                                                                          as Monday,      Belts,it asScarves,
                                                                                                                          Get                  Hats,
                                                                                                                                       soon as Sunday,      $Handbags      Purses
                                                                                                                                                              9 . 99 ($0.67/Count)                   Curtain,
                                                                                                                                                                                                     Get         Plant,as Sunday,
                                                                                                                                                                                                          it as soon       Pans and     Purses
                                                                                                                                                                                                                                        Get  it as Clothes   Belts
                                                                                                                                                                                                                                                    soon as Sunday,                                           (Black)
                                                                                                                                                                                                                                                                                                              Get it as soon as Sunday,
         Pansit asandsoonPots,
         Get                    Black
                            as Sunday,         Nov 19                                   Clothes,
                                                                                        Nov   20 Bags, Plants,            Clothes,
                                                                                                                          Nov    19 and Plant, Silver        Clothes(Black)
                                                                                                                                                             Get it as soon as Sunday,               Pots
                                                                                                                                                                                                     Nov 19                             (Black)
                                                                                                                                                                                                                                        Nov 19                                                               Nov 19
        Nov 19                                 FREE Shipping on orders over             Pots Shipping
                                                                                        FREE    (Black) on orders over   FREE Shipping on orders over       Nov 19                                  FREE Shipping on orders over       FREE Shipping on orders over                                          FREE Shipping on orders over
        FREE Shipping on orders over           $35 shipped by Amazon                   $35 shipped by Amazon             $35 shipped by Amazon              FREE Shipping on orders over            $35 shipped by Amazon              $35 shipped by Amazon                                                 $35 shipped by Amazon
        $35 shipped by Amazon                                                                                                                               $35 shipped by Amazon




                                                                                                                                                         See personalized recommendations
                                                                                                                                                                            Sign in
                                                                                                                                                                New customer? Start here.




                                                                                                                                                                      Back to top




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                                                                                  Amazon                                     Sell apps on Amazon                                      Amazon Store Card                                            Your Orders
                                                                                  Newsletter
                                                                                                                             Supply to Amazon                                         Amazon Secured Card                                          Shipping Rates &
                                                                                  About Amazon                                                                                                                                                     Policies
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                                                                                                                                                                                      Shop with Points
                                                                                  Sustainability                             Become an Affiliate                                                                                                   Returns &
                                                                                                                                                                                      Credit Card Marketplace                                      Replacements
                                                                                  Press Center                               Become a Delivery Driver
                                                                                                                                                                                      Reload Your Balance                                          Manage Your
                                                                                  Investor Relations                         Start a Package Delivery                                                                                              Content and Devices
                                                                                                                             Business                                                 Gift Cards
                                                                                  Amazon Devices                                                                                                                                                   Your Recalls and
                                                                                                                             Advertise Your Products                                  Amazon Currency Converter
                                                                                  Amazon Science                                                                                                                                                   Product Safety Alerts
                                                                                                                             Self-Publish with Us                                                                                                  Help
                                                                                                                             Host an Amazon Hub
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                                               ›See More Ways to Make
                                               Money




                                                                                     English              United States




           Amazon Music            Amazon Ads           6pm                            AbeBooks                 ACX              Sell on Amazon      Amazon
           Stream millions         Reach                Score deals                    Books, art               Audiobook        Start a Selling     Business
           of songs                customers            on fashion brands              & collectibles           Publishing       Account             Everything
                                   wherever                                                                     Made Easy                            For
                                   they                                                                                                              Your
                                   spend their                                                                                                       Business
                                   time

           Amp                     Amazon               AmazonGlobal                   Home Services            Amazon Web       Audible             Box Office
           Host your own live      Fresh                Ship Orders                    Experienced Pros         Services         Listen to Books &   Mojo
           radio show with         Groceries &          Internationally                Happiness                Scalable Cloud   Original            Find Movie
           music you love          More                                                Guarantee                Computing        Audio               Box Office
                                   Right To Your                                                                Services         Performances        Data
                                   Door

           Goodreads               IMDb                 IMDbPro                        Kindle Direct            Amazon Photos    Prime Video         Shopbop
           Book reviews            Movies, TV           Get Info Entertainment         Publishing               Unlimited        Direct              Designer
           & recommendations       & Celebrities        Professionals Need             Indie Digital &          Photo Storage    Video               Fashion
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                                                                                       Made Easy                Prime            Made Easy

           Amazon Warehouse        Whole Foods          Woot!                          Zappos                   Ring             eero WiFi           Blink
           Great Deals on          Market               Deals and                      Shoes &                  Smart Home       Stream 4K Video     Smart
           Quality Used Products   America’s            Shenanigans                    Clothing                 Security         in Every Room       Security
                                   Healthiest                                                                   Systems                              for Every
                                   Grocery Store                                                                                                     Home

                                   Neighbors            Amazon Subscription            PillPack                 Amazon
                                   App                  Boxes                          Pharmacy                 Renewed
                                   Real-Time            Top subscription boxes         Simplified               Like-new
                                   Crime                – right to your door                                    products
                                   & Safety                                                                     you can trust
                                   Alerts



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        Fourth Webpage Showing Sale of Infringing
                    Product Type 3
                                 Case 2:23-cv-02000-WSS                                                                                               Document 11-15                                                              Filed 11/20/23                                             Page 25 of 28



    p&iL to kain Nontent   Delivering to Albany About
                                     OoL         12201 tSis itek
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Infringing Product
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                                                                                                                                                                liUe Nonvenient.
                                                                                                                                                                ptainless Hanging Hoo&$ptainless steel katerials struNture, not easy to rust, being very stable
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                                                                                                                                                                Hoo& éor ptorage$ OSe suLLle enEs Nan bags Urok sNratNSes, bring you satisUying using Ueeling.
                                                                                                                                                                ptainless Hanging Hoo&s$zan be diEely aLLlieE Uor Sanging SanEbags, baN&LaN&s, belts, ties,
                                                                                                                                                                Teans, toLs, boots7 sNarves7 Llants, Lots anE Lans.
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                                    Oorsion s Hoo& zloset curse                        Duty, C9tra Marge Jano Double                       Hangers Hoo&s ditS Rubber
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Case 2:23-cv-02000-WSS                                                                           Document 11-15                                                    Filed 11/20/23                                        Page 26 of 28




              pA6›OA 10LNs curse              HiwiUt V caN& curse                  éitniNe 10 caN& curse            +CDBD›CR 1x caN& curse              Wz›p›GBp curse Hanger            12 caN& curse Hangers           'yUolrena curse Hangers
              Hoo&s Uor zloset, Heavy         Hanger Uor zloset,                   Hanger Uor zloset, p             Hoo&s Uor zloset,                   Uor zloset, 10 caN&              Uor zloset,PniYue               Wag Hoo&s zloset4 12
              Duty WlaN& p Hoo&s Uor          PniYue Odist Design                  Hoo&s Uor Hanging                WaN&LaN& Hanger Wag                 HanEbag Hanger                   OdisteE curse                   caN& HanEbag Hanger
              Hanging zlotSes in a            Wags Hanger x/:       Hoo&s,         OdisteE curse Hoo&s              HolEer, zloset                      Brganiher PniYue   -0    Odist   Hoo&s,WlaN& zloset RoE          Brganiher 'etal p
               zloset HanEbags Odist          Marge
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               Design ditS Rubber             Hoo&s
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                                                                                                                      AkahonFsUor Hanging
                                                                                                                                   zSoiNe     in        Hoo&s,
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              (ptoLLer    Uor Miving Rook     curses,                              (Brganiher                                                                                            (Hoo&s                          (HanEbags,zlotSes,
                11 . )) "(1.20qzount…         Mist$  (V.))HanEbags, Welts,                         pLaNe paving
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                                              Modest LriNe  Hats,zlotSes,
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                                                                                                                                                        Modest      HanEbags,
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                                                                                                                                                                                          wet it as soon as GeEnesEay,    zurtain,   clant,as punEay,
                                                                                                                                                                                                                          wet it as soon       cans anE
              Hoo&s21 RoE "WlaN&…
              Jov                             cansit asanEsooncotsas punEay,
                                              wet                    4 WlaN&       zlotSes,
                                                                                   Jov    20 Wags, clants,          zlotSes,
                                                                                                                    wet           anE clant, pilver
                                                                                                                          it as soon as punEay,
                                                                                                                                                        zlotSes,
                                                                                                                                                        wet          clant,
                                                                                                                                                              it as soon as punEay,      Jov 22                          cots 1)
                                                                                                                                                                                                                         Jov
              éRCC pSiLLing on orEers over    Jov 1)                               cots    "WlaN&… on orEers over
                                                                                   éRCC pSiLLing                    Jov 1)                              cots"WlaN&…
                                                                                                                                                        Jov 1)                           éRCC pSiLLing on orEers over    éRCC pSiLLing on orEers over
              (-/ sSiLLeE by Akahon           éRCC pSiLLing on orEers over         (-/ sSiLLeE by Akahon            éRCC pSiLLing on orEers over        éRCC pSiLLing on orEers over     (-/ sSiLLeE by Akahon           (-/ sSiLLeE by Akahon
              Bnly 1- leUt in stoN& 4 orEer
              soon.                           (-/ sSiLLeE by Akahon                                                 (-/ sSiLLeE by Akahon               (-/ sSiLLeE by Akahon



BverstoN& Eeals on Hoke                               ptorage Hoo&s C9Llore kore in Butlet                                                                                                                                                                cage 1 oU )




              5 caN& RustiN zast ›ron         éran&lin Wrass Double                ABABZ›Jw 10 cNs Gall             ›ZpB3pMPJJ xczp                     HA'BcZ 'ail Brganiher            MC'BJ›DCA Gall                  Wear zoat Hoo&s DeNor 4
              zoat Hoo&s Heart pSaLe          pNroll Hoo& Assekbly                 'ounteE zoat Hoo&s,              IitNSen Ptensil HolEer              Gall 'ount ditS / Iey            'ounteE Hoo& RaN&               zabin DeNorations zoat
              ButEoor Gall Hoo&s              Gall Hoo&s /4caN&,                   Hanger Hoo& ditS 20              Hoo&s Heavy Duty,                   Hoo&s, 20 ›nNS pSelU             Clegant 'etal éolEing           Hoo&s Gall 'ounteE
              Gall 'ount ditS pNreds                         1,x2V
                                              wunketal, éWpzRH/4                   cieNes pNreds Uor Oodel,         clastiN pelU4AESesive               ditS Hoo&s, zSal&boarE           éloating / Hanger Rail to       Cntryday 10?95? 4 Wear
                            12
              Uor Hoke HanENraUteE            ODw4z
                                                AkahonFs zSoiNe    in zoat         Iey, Robe, zoats,2    pNarU,                      /x
                                                                                                                    Hoo&s -50 ’ Rotatable               Iey HolEer ditS 1: zor&          Brganihe zoats, -x pNarves,     DeNorations Uor   1) Hoke
              DeNorative
               -0% oUU BverstoN&              Hoo&s                                Wag,
                                                                                     /0% zaL,    zoUUee zuL,
                                                                                           oUU BverstoN&            éolEing
                                                                                                                      /0% oUU Gall   Hangers
                                                                                                                                 BverstoN&              WoarE,
                                                                                                                                                          20% oUUMiving  Rook
                                                                                                                                                                    BverstoN&            curses
                                                                                                                                                                                          /0% oUUUor BverstoN&
                                                                                                                                                                                                      Hoke Hotel         'etal
                                                                                                                                                                                                                           /0% oUUWlaN&BverstoN&
                                                                                                                                                                                                                                          Wear Hoo& 4
              ( 11 . 1) "(1.V:qzount…          12% oUU    BverstoN&
                                                                                   'ugs     "WlaN&…
                                                                                   ( 5 . x) "(1.VxqBunNe…
                                                                                                                    RaN&s    ditS  5 Hoo&s Uor
                                                                                                                    ( : . x) "(1.V:qzount…
                                                                                                                                                        DeNor,Cntryday
                                                                                                                                                        ( 21 . /)
                                                                                                                                                                           Gall          ( ) . ))
                                                                                                                                                                                                                         RustiN
                                                                                                                                                                                                                         ( V . x)
                                                                                                                                                                                                                                  zabin    DeNor wiUts
                                                                                                                    IitNSen, WatSrook,                  DeNor                                                            Uor zabin Bdners
              OyLiNal$ (1/.))                 ( 2/ . -0 "(/.05qzount…              Mist$ (12.))                     Mist$ (1x.))                        OyLiNal$ (25.))                  OyLiNal$ (1).))                 OyLiNal$ (15.))
                                                                                                                    BUUiNe "WlaN&QGSite…
              wet it as soon as punEay,       OyLiNal$ (2V.Vx                      wet it as soon as 'onEay,        wet it as soon as punEay,           wet it as soon as GeEnesEay,     wet it as soon as 'onEay,       wet it as soon as 'onEay,
              Jov 1)                          wet it as soon as punEay,            Jov 20                           Jov 1)                              Jov 22                           Jov 20                          Jov 20
              éRCC pSiLLing on orEers over    Jov 1)                               éRCC pSiLLing on orEers over     éRCC pSiLLing on orEers over        éRCC pSiLLing on orEers over     éRCC pSiLLing on orEers over    éRCC pSiLLing on orEers over
              (-/ sSiLLeE by Akahon           éRCC pSiLLing on orEers over         (-/ sSiLLeE by Akahon            (-/ sSiLLeE by Akahon               (-/ sSiLLeE by Akahon            (-/ sSiLLeE by Akahon           (-/ sSiLLeE by Akahon
              Bnly x leUt in stoN& 4 orEer                                         Bnly 12 leUt in stoN& 4 orEer
              soon.                           (-/ sSiLLeE by Akahon                soon.




Moo&ing Uor sLeNiUiN inUo✅




6iEeos
HelL otSers learn kore about tSis LroEuNt by uLloaEing a viEeo#

 PLloaE your viEeo




croEuNt inUorkation

OeNSniNal Details                                                                                                                        AEEitional ›nUorkation

     'anuUaNturer                                                   !Housoutil                                                              Ap›J                                                         W0WéRJ5x-p

     cart Jukber                                                    !éx20-MIGm5C/R/CmPJ-:m›P2                                               West pellers Ran&                                            –-,2V),1)V in Hoke f IitNSen " pee OoL 100 in
                                                                                                                                                                                                         Hoke f IitNSen …
     ›tek GeigSt                                                    !1.5- LounEs                                                                                                                         –25:,V:) in Hoke ptorage f Brganihation "Hoke f
                                                                                                                                                                                                         IitNSen…
     croEuNt Dikensions                                             !x.x/ 9 5.:- 9 2.2x inNSes
                                                                                                                                            Date éirst Available                                         peLtekber 1), 2022
     zountry oU Brigin                                              !zSina

     ›tek koEel nukber                                              !éx20-MIGm5C/R/CmPJ-:m›P2                                            Garranty f puLLort
     pihe                                                           !11.-8/.:Nk9-LNs                                                     croEuNt Garranty$ éor darranty inUorkation about tSis LroEuNt, Llease NliN& Sere

     zolor                                                          !pilver9-LNs                                                         éeeEbaN&
     ptyle                                                          !UasSion                                                             GoulE you li&e to tell us about a loder LriNe✅
     éinisS                                                         !zSroke

     'aterial                                                       !'etal

     6oltage                                                        !-1) 6olts

     ›tek caN&age muantity                                          !1


     Jukber BU cieNes                                               !2x

     zoverage                                                       !1Vq0)q202:

     'ounting OyLe                                                  !Des& 'ount

     ›nNluEeE zokLonents                                            !Soo&

     Watteries ›nNluEeE✅                                            !Jo

     Watteries ReYuireE✅                                            !Jo




croEuNt DesNriLtion
      caN&age Mist
      V 9 curse Hangers
Case 2:23-cv-02000-WSS                                                                       Document 11-15                                                  Filed 11/20/23                                            Page 27 of 28



         zSaraNteristiNs
         4 'aterial$ ptainless steel.
         4 OSe  suLLle enEs Nan bags Urok sNratNSes, bring you satisUying using Ueeling.
         4 MigSt deigSt, easy to use anE Narry, Nan be diEely aLLlieE Uor roEs in batSrook, living rook anE kore LlaNes.
         4 'aEe oU stainless steel katerials, tSis Sanger is anE Eurable, Nan be useE Uor long tike.
         4 zolor$ silver.
         4 zan be useE Uor Sanging NlotSes, Lurse, &eys, Noats, Sats, bags, skall iteks, etN.
         4 Reasonable Eesign, allods you susLenE your bags vertiNally in tSe Nloset, save sLaNes anE NSoose bags kore Nonveniently.
         4 pihe$ 11.-08/.:08/.:0Nkq x.xx82.2x82.2xinNS.


         wooEs DesNriLtion
         stainless Sanging Soo& OSis is an e9Nellent roE Sanger Uor Nloset, batSrook, &itNSen, living rook, launEry rook anE LlaNes you dant.Soo&s Uor Sanging Noats GitS its reasonable anE sNientiUiN arN, LraNtiNal use, it Nan be useE Uor Sanging bags,
         Lurse, SanEbag, sNarU anE so on.Soo& Uor storage OSese Lurse Sangers are kaEe Urok stainless steel katerial, saUe, Eurable anE you Nan use it Uor tike




›kLortant inUorkation
    Wulb 6oltage
    -1) volts


    Oo reLort an issue ditS tSis LroEuNt, NliN& Sere     .




                                                                                                                                                                                                           pLonsoreE

pikilar branEs on Akahon                                                                                                                                                                                                                          cage 1 oU 2
pLonsoreE


                    HB'C DCcPOZ                                                                 Giosi                                                                       pCCWR›DCR
                    pSoL tSe ptore on Akahon j                                                  pSoL tSe ptore on Akahon   j                                                pSoL tSe ptore on Akahon   j




                                      HB'C DCcPOZ 5 caN& curse Brganihers                                         curse Hanger Brganiher Uor zloset - caN&                                    pCCWR›DCR curse Hanger zloset, curse
                                      Uor zloset 4 5 Wag Hoo&s 4 pilver 4 curse                                   4 Durable Mu9ury ANryliN HolEer Uor                                         HolEer Uor zloset wrey WaN&LaN& Hanger
                                      Hangers Uor zloset /11 ditS PniYue OdisteE                                  HanEbag Oote xx)
                                                                                                                                 Wag patNSel WaN&LaN&                                         (Hoo&
                                                                                                                                                                                                15 . ))Uor Brganiher ptorage curses Oote
                                      ( 12 . /0Design
                                      Hoo&              dSiNS
                                                  OyLiNal$      paves pLaNe 4 Zour
                                                            (1-./0                                                (zrossover
                                                                                                                    2) . )) 4 HolEs PL to 55Mbs X Casy to                                     Wag WaN&LaN&s HanEbags"10 caN&…
                                      HanEbags Gill Moo& wreat in Zour zloset                                     zlean, Jo Oools ReYuireE




zustoker revieds                                                               Jo Nustoker revieds
/ star                                           0%
x star                                           0%
- star                                           0%
2 star                                           0%
1 star                                           0%

   Hod Nustoker revieds anE ratings dor&



Revied tSis LroEuNt
pSare your tSougSts ditS otSer Nustokers

                 Grite a Nustoker revied




                                           pLonsoreE




WranE in tSis Nategory on Akahon
                             Case 2:23-cv-02000-WSS                                                                                     Document 11-15                                                        Filed 11/20/23                                       Page 28 of 28



                                                                   HanEbag Eust bags
                                                                   pSoL z›Jc›PI




                                                                                                                                     z›Jc›PI V caN& HanEbag            z›Jc›PI x caN& HanEbag                 z›Jc›PI zlear HanEbag
                                                                                                                                     Dust Wags zlear curse p©          Dust Wags zlear curse p©               ptorage Wags curse Brg©
                                                                                                                                                 2,Vxx                              2,Vxx                              2,Vxx


                                                                                                                                                                                                                                                                           pLonsoreE




                                                                                                                                                                                                                                 pLonsoreE




West pellers in tSis Nategory




       GasSing 'aNSine                     W›ppCMM Mittle wreen               B4zeEar CasyGring                 WeN&Sak Hotel                     PtoLia WeEEing OSrod              wiveWest cortable
       zleaner DesNaler 2x caN&            'ulti4curLose cortable             'iNroUiber pLin 'oL,              zolleNtion WeE cillods            cillods "pet oU x, GSite…,        CleNtriN pLaNe Heater
       4 DeeL zleaning Oablets             zarLet anE PLSolstery              WuN&et éloor zleaning             ptanEarE q mueen pihe             1V 9 1V ›nNSes cillods            ditS OSerkostat,
       éor HC éront MoaEer f               zleaner, zar anE5/,00-
                                                                Auto          pystek, ReE, wray                 pet oU 2 4 Dodn                   Uor poUa, WeE anE zouNS           1/00Gq:/0G paUe anE
       OoL MoaE GasSer, peLtiN             Detailer, ditS C9Nlusive
                                            –1 West peller   in zarLet f                          155,V/V                        2-x,0-5 wel
                                                                                                                Alternative WeEEing                              )2,0x1
                                                                                                                                                  DeNorative ptuUUer                muiet zerakiN Heater
                       )V,x:x
       paUe CNo4érienEly                   pLeNialty
                                           PLSolstery Oools,
                                                       zleaningwreen,           –1 West peller in               zooling   cillod Uor
                                                                                                                  –1 West peller   in WeEWaN&,    cillods
                                                                                                                                                   –1 West peller in OSrod          éan, Heat PL :V,5)-200 pYuare
       DeoEoriher,    zlean ›nsiEe
       ( 15 . )/ "(0.:1qzount…             1x00W
                                           'aNSines                           HouseSolE 'oLs f WuN&et           ptokaNS
                                                                                                                cillods     or piEe               cillods                           éeet
                                                                                                                                                                                    ( 2) . Uor
                                                                                                                                                                                           )) BUUiNe Rook
       Drukit asAnE
       wet       soonMaunEry
                      as punEay,Oub         2V% oUU     Deal                  pets                              pleeLers
                                                                                                                ( 50 . )) "(-0./0qzount…          ( 22 . )) "(/.:/qNount…           Des&
                                                                                                                                                                                    wet it as›nEoor
                                                                                                                                                                                               soon asPse,  pilver
                                                                                                                                                                                                        OuesEay,
       peal 1)12 'ontS puLLly
       Jov                                                                    ( -x . ):                         wet it as soon as punEay,         wet it as soon as punEay,         Jov 21
                                           ( V) . 00
       éRCC pSiLLing on orEers over                                           wet it as soon as punEay,         Jov 1)                            Jov 1)                            éRCC pSiLLing on orEers over
                                           Mist$ (12-./)
       (-/ sSiLLeE by Akahon                                                  Jov 1)                            éRCC pSiLLing by Akahon           éRCC pSiLLing on orEers over      (-/ sSiLLeE by Akahon
                                           wet it as soon as punEay,
          zlikate cleEge érienEly                                             éRCC pSiLLing on orEers over         zlikate cleEge érienEly        (-/ sSiLLeE by Akahon
                                           Jov 1)
                                                                              (-/ sSiLLeE by Akahon                                                   zlikate cleEge érienEly
                                           éRCC pSiLLing by Akahon


zustokers dSo viedeE iteks in your brodsing Sistory also viedeE




        12 caN& curse Hanger                curse Hanger curse                 éitniNe 10 caN& curse             +CDBD›CR 1x caN& curse            WCpAR'C 1/ caN& curse             'yUolrena curse Hangers
        Uor zloset,PniYue Odist             Brganiher Uor zloset,p             Hanger Uor zloset, p              Hoo&s Uor zloset,                 Hanger Uor zloset,                Wag Hoo&s zloset4 12
        Design Wag Hanger curse             Hoo&s Odist Design Wag             Hoo&s Uor Hanging                 WaN&LaN& Hanger Wag               PniYue Odist Design Wag           caN& HanEbag Hanger
        Hoo&s, Marge pihe zloset            Hanger,zloset RoE                  OdisteE curse Hoo&s               HolEer, zloset                    Hanger Hoo&s, curse               Brganiher 'etal p
        RoE Hoo&s Uor1,-0:    Hanging       Hoo&s Uor Hanging                  Heavy Duty p Hoo&s                ANNessories Brganiher p           Brganiher Hoo&s -1x Uor           Hoo&s, Marge pihe zloset
        JeN&laNe
          AkahonFs Wags,
                       zSoiNe curses,
                                  in Oie                       x-)
                                           HanEbags,curses,Welts,p            HanEbag Hanger      1Vx           Hoo& Uor Hanging   100             zloset  Marge
                                                                                                                                                     AkahonFs      zlosetin p
                                                                                                                                                               zSoiNe               RoE Hoo&s Uor22)Hanging
        HanEbags, Welts,
        RaN&s                              (Narves,Hats,zlotSes,cots
                                             V . )V "(1.12qzount…             (Brganiher       pLaNe paving
                                                                                ) . )) "(1.00qzount…            (curses,     HanEbags, Wags,
                                                                                                                  : . )) "(0./:qzount…             Hoo&s Hoo&s
                                                                                                                                                   Ptility Uor Hanging              (HanEbags,zlotSes,
                                                                                                                                                                                      ) . ))
       (pNarves,     Hats,zlotSes,
         ) . 5) "(0.V1qzount…              anE itcans.
                                           wet     as soon"V ascaN&  WlaN&…
                                                                 punEay,      zloset
                                                                              wet   it as RoE
                                                                                           soon Hoo&s   Uor
                                                                                                 as 'onEay,     Welts,it aspNarves,
                                                                                                                wet                  Hats,
                                                                                                                             soon as punEay,      (HanEbags     curses
                                                                                                                                                    ) . )) "(0.5:qzount…            zurtain,
                                                                                                                                                                                    wet          clant,as punEay,
                                                                                                                                                                                          it as soon       cans anE
       cansit asanEsooncots,
       wet                    WlaN&
                          as punEay,       Jov 1)                             zlotSes,
                                                                              Jov    20 Wags, clants,           zlotSes,
                                                                                                                Jov    1) anE clant, pilver       zlotSes"WlaN&…
                                                                                                                                                  wet it as soon as punEay,         cots 1)
                                                                                                                                                                                    Jov
       Jov 1)                              éRCC pSiLLing on orEers over       cots pSiLLing
                                                                              éRCC     "WlaN&… on orEers over   éRCC pSiLLing on orEers over      Jov 1)                            éRCC pSiLLing on orEers over
       éRCC pSiLLing on orEers over        (-/ sSiLLeE by Akahon              (-/ sSiLLeE by Akahon             (-/ sSiLLeE by Akahon             éRCC pSiLLing on orEers over      (-/ sSiLLeE by Akahon
       (-/ sSiLLeE by Akahon                                                                                                                      (-/ sSiLLeE by Akahon




                                                                                                                                                         pee LersonaliheE reNokkenEations
                                                                                                                                                                        pign in
                                                                                                                                                                Jed Nustoker✅ ptart Sere.




                                                                                                                                                                      WaN& to toL




                                                                                  wet to Inod Ps                              'a&e 'oney ditS Ps                                    Akahon caykent croEuNts                                  Met Ps HelL Zou
                                                                                  zareers                                     pell on Akahon                                        Akahon 6isa                                              Zour ANNount
                                                                                  Akahon                                      pell aLLs on Akahon                                   Akahon ptore zarE                                        Zour BrEers
                                                                                  Jedsletter
                                                                                                                              puLLly to Akahon                                      Akahon peNureE zarE                                      pSiLLing Rates f
                                                                                  About Akahon                                                                                                                                               coliNies
                                                                                                                              croteNt f WuilE Zour                                  Akahon Wusiness zarE
                                                                                  ANNessibility                               WranE                                                                                                          Akahon crike
                                                                                                                                                                                    pSoL ditS coints
                                                                                  pustainability                              WeNoke an AUUiliate                                                                                            Returns f
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                                                                                                                                                                                    ReloaE Zour WalanNe                                      'anage Zour
                                                                                  ›nvestor Relations                          ptart a caN&age Delivery                                                                                       zontent anE DeviNes
                                                                                                                              Wusiness                                              wiUt zarEs
                                                                                  Akahon DeviNes
